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                 Exhibit A
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      Report Date: November 18, 2020                Industry: Internet Fraud

      Company:                                      Stock Price: $100.19
      Joyy Inc.
                                                    Market Cap: $8 billion
      Ticker:
      YY US                                         Average Daily Volume (30-day): $109.5 million




        YY: You Can’t Make This Stuff Up. Well…Actually You Can

  While trawling the sewers of the world’s capital markets over the past 10 years, irony has never been in
  short supply. And yet, nothing could prepare us for the surreality of Baidu announcing its intention to
  buy YY Live from JOYY, which happened just as we were preparing to reveal that our year-long
  investigation shows YY Live is about 90% fraudulent.
  It was clear to us from early on that YY Live was almost entirely fake. YY Live is an ecosystem of
  mirages. Its supposedly high-earning performers in reality take home only a fraction of their reported
  totals. The purportedly independent channel owners are largely controlled by YY in order to facilitate
  continuous sham transactions. The legions of benefactor fans are almost entirely bots operating from
  YY’s internal network (~50% of YY Live gift volume), bots operating from external bot farms, and
  performers roundtripping gifts to themselves. We conclude that YY Live is ~90% fraudulent. YY’s
  international livestreaming business, Bigo, seems barely more real.
  So, the question is: What will Baidu do? It’s no secret that Baidu is struggling to grow. But will Baidu
  really try to buy “growth” in the form of an almost completely fake business? And for $3.6 billion cash,
  or seven percent of its market cap?! We have been arguing for the past 10 years that the rot in “China
  Inc.” is far greater than most investors either understand or admit. Many have called us overly cynical.
  Baidu / YY Live will be THE test of whether China Inc. is really just a few bad apples; or, whether the
  incessant cheating, lying, and indifference to U.S. law permeate the highest echelons of China’s public
  companies.
  In April, Baidu’s ethics committee released a statement in response to the arrest of its group vice
  president of finance and former CFO, which read in part:1
           “Baidu resolutely cracks down on all violations of the law and discipline, and has zero tolerance
           for any behavior that touches the red line of professional ethics. It will never relax for anyone, at
           any time!”2


  1
    https://www.tellerreport.com/business/2020-04-22-baidu-again-exposed-senior-executives-to-corruption--and-
  who-was-arrested--vice-president-wei-fang-.rySm4XT_8.html
  2
    https://cntechpost.com/2020/04/21/former-baidu-vice-president-transferred-to-judiciary-for-suspected-corruption/
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  To Baidu we say, “You’ve announced that you’re going to pay seven percent of your market cap in cash
  for a business that’s almost entirely fraudulent. The enormous scale of this fraud will be inescapable in
  due diligence. You say there are real ethics and respect for the law at Baidu? Show us.”


  Summary
  We are short JOYY Inc. (YY) because we conclude that YY is a multibillion-dollar fraud. We conclude
  that YY’s component businesses are a fraction of the size it reports, and that the company’s reported user
  metrics, revenues, and cash balances are predominantly fraudulent. Our conclusions apply not only to the
  legacy YY Live business, but also to Bigo, YY’s online dating business, and really everything these
  people have touched.

  •   Approximately 84% of YY’s reported consolidated revenue appears to be fraudulent. Changing our
      base case assumptions to more company-favorable / conservative assumptions yields consolidated
      fraudulent revenue of approximately 73%.

  •   We have observed three primary methods through which YY commits fraud:

          o   Paying User (“PU”) bots from YY’s own servers – in our data sample, gifts associated with
              YY’s own servers, disguised as PUs, constituted roughly half of the total value of all gifts
              sent.

          o   Performers whose gifts are recycled into the system through alter ego PU accounts. We
              understand that the top performers, who purportedly earn tens of millions of RMB per year,
              are in fact often on fixed salaries paying them no more than 2.5 million RMB per year
              (~$350,000).

          o   Channel owners, which manage performers, are part of the scheme. The large channel
              owners are primarily owned by former YY employees who are clearly “in on” the scam.
              PRC credit bureau report financial statements for the five largest channel owners show
              combined 2018 revenue of only ~15% of what YY claims.

  •   We conclude that YY Live, Bigo, and YY’s online dating business are substantially fraudulent:

          o   We conclude that ~90% of YY Live’s livestreaming revenue is fraudulent. Livestreaming
              accounts for ~95.8% of purported Q3 2020 YY Live revenue.

          o   We conclude that ~80% of YY Live’s online dating revenue is fraudulent. Online dating
              accounts for ~20% of purported YY Live revenue.

          o   We estimate that ~80% of Bigo revenue is fraudulent. Using more company-favorable
              assumptions yields a fraudulent revenue contribution of ~60%.

          o   Bigo’s Singapore parent changed auditors three times in its first four years. Bigo also
              received three consecutive going concern opinions from its auditor in 2016-2018. Bigo made
              a major restatement of its 2017 financials in August of 2019, months after the acquisition by
              YY was complete. These fact patterns support our conclusion that Bigo is also substantially
              fraudulent.
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          o   Bigo’s rot stems from its inception. YY claims that it purchased Bigo from Chairman David
              Li. This is a lie that enabled Chairman Li to take at least $156.1 million of real money from
              YY shareholders and for YY to fraudulently report remeasurement gains in its profits. In
              reality, YY founded Bigo – not Chairman Li.

          o   Bigo consolidates a significant amount of revenue from Mainland China. Bigo tacked on a
              mainland China business Hello that we believe to be almost entirely fake, per our primary
              diligence and discussions with former Bigo employees. As of Q3 2020, we estimate this
              overwhelmingly fraudulent PRC unit was still 13.4% of Bigo’s reported revenues.

  •   We researched YY’s businesses for more than one year, taking a two-prong approach. The first
      prong was macro data collection and analysis through automated means of 115.6 million transactions.
      The second prong was traditional Muddy Waters techniques of reviewing filings and accounts,
      undercover fieldwork, and human sourcing.

  •   Studying various purportedly top earning performers closely shows the enormity of the fraud on a
      micro level:

          o   Purported pop music success Modern Brothers gives free concerts in a popular shopping area,
              and yet attendee “fans” are paid to show up. Modern Brothers rarely performs on YY Live
              these days, but they receive gifts continuously through the platform when off air. Many of
              these gifts were coming from YY’s servers. Analyzing data from 96 randomly selected
              purported donors shows that ~97.9% of sampled gift revenues were likely fake.

          o   A random sample of YY PUs in Wuhan during its COVID-19 lockdown indicated that
              ~87.5% of their gift revenues were likely fraudulent. The majority of the fraudulent PUs had
              mobile device IDs (IMEIs) linking back to YY servers, while a significant minority of Wuhan
              PUs displayed IP addresses that inexplicably jumped from city to city amid the lockdown.

          o   “Big Li” is a big lie. Big Li won YY’s 2019 annual competition for the most gifts received.
              However, our data shows that during this December event, Big Li’s mobile device was shared
              with his largest contributor, who sent RMB seven million in gifts, or approximately 40% of
              the total. Beyond that, devices associated with his sent more in gifts than Big Li received,
              laying bare a network of related accounts that recycle gifts and inflate YY’s revenue totals.

          o   Top Bigo earner RCT_Khan purportedly receives ~$50,000 in gifts per month for literally
              sitting at his desk doing paperwork. His stream gets even less enthralling, with the camera
              often pointed at the wall or ceiling. Until very recently, his purported #2 contributor was
              clearly himself. (His other top contributors are almost certainly part of a gift recycling
              network.)

          o   We lay out findings from four additional top-earning performers, four more Top PUs, and
              numerous interviews with senior members of the YY ecosystem supporting our finding that
              YY Live and Bigo are a sham and their gift revenue is substantially fake.
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  Our Data Analysis and Sampling Indicate that ~90% of YY
  Live Revenue Is Fake
  We analyzed and sampled YY user data and gift revenue in three ways to estimate the percentage of FUs
  on YY Live and their associated revenue. We concluded that YY Live’s gift revenue is approximately
  90% fake using these three methods.

  The first method was analyzing almost 100,000 Paying Users (“PUs”) that XHL tracks. We found that
  we could cleanly class almost half of YY gifts by value as coming from YY-associated Fake Users
  (“FUs”). We did this by taking a core group of FUs in the data set bearing YY IP addresses and tracking
  the IMEI sharing that radiated out from that group.3
  However, we also found the remaining half of YY gift revenue to be largely fraudulent by performing
  granular investigative work to identify FUs. Our second FU identification method, which ran in this vein,
  consisted of randomly sampling 96 Wuhan-based PUs during the Chinese COVID-19 lockdown. We
  found that ~87.5% of these Wuhan PUs were apparent FUs. The third method, again granular, consisted
  of sampling 96 Modern Brothers PUs. As discussed above, the Modern Brothers sample indicated that
  ~97.9% were actually FUs.

  We further verified our 90% fake revenue estimate by checking the revenue that leading channel owners
  reported to the SAIC against YY’s claims. We found an 85.9% discrepancy between the revenue YY
  asserted for the top five channel owners and the revenue in their China credit reports.

  Data Collection and Analysis Methodology

  There are two components to our data analysis and collection methodology. Using Google Chrome web
  developer tools, we were able to track up to 88 data points of each transaction, including PU name, PU
  YY ID4, transaction time, gift name, gift unit price, gift ID, quantity of gifts, and name and YY ID of the
  recipient, PU IP address and device IMEI. The device IMEIs suggest to us that approximately half of YY
  Live gift revenues originated from YY’s own servers. Device IMEIs also showed us how pervasive
  roundtripping of gifts is on YY Live. We used a third-party data analytics service owned by a YY

  3
    Shared mobile devices are determined by the display of identical shared IMEIs in the data recorded collected from
  YY.
  4
    YY ID: YY has 4 IDs for each performer: room ID, Channel ID, YY account ID and UID. The UID is used by
  XHL and YY’s system and could not be changed by the performer. The Room ID, Channel ID and YY account ID
  could be changed as a result of leaving the original channel owner to join a new channel owner, etc. The UID cannot
  be changed by the performer. We use the UID for the identification of performers to be consistent with XHL data.
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  insider, called Xiaohulu (“XHL”), to track the amounts of gifts given and received by each account.
  (XHL’s founder and owner was a founder of YY and is still a shareholder of two of its key VIEs.) For
  Bigo, we developed customized code to leverage the mobile app and collect bean counts for Bigo’s top
  performers and their top 50 PUs.
  We used Google Chrome web developer tools to collect data from YY Live starting in October 2019.
  From Nov 27, 2019 to Feb 4, 2020, we expanded our data monitoring, collecting over 115.6 million gift
  transactions sent by 1.2 million PUs to 20,715 performers.5 Over the following months our researchers
  mined this massive data base to check connections between performers and PUs, extrapolate patterns, and
  examine details on irregular transactions where the data was sufficiently granular (i.e., bot hunting during
  the 2020 China COVID-19 lockdown).
  We also used XHL’s database to check aggregate gift revenues and gift details from over 180,000 of
  YY’s PUs, over 120,000 performers, and to establish associations with their respective channel owners.
  Our revenue fraud estimates are also in part based on XHL’s data. We believe that XHL’s data matches
  YY’s internal accounting for two reasons. First, XHL’s founder, Jin Cao (       )6, is a co-founder of YY,
  was a key executive, remains shareholder in two of YY’s VIEs, Beijing Tuda and Guangzhou Huaduo,7
  and is still the legal representative at a third, Guangzhou Duowan.8,9 Second, YY’s former subsidiary,
  Huya, relied on XHL data as evidence in a lawsuit in PRC court, representing that its data monitoring
  platform was authoritative, independent, and reliable.10
  Our macro data sources for Bigo were livestream room monitoring and data collection techniques, and
  third-party app analytics databases.11


  YY-Controlled PUs Generated Roughly Half of YY Gift Revenue in December 2019

  In December 2019, we reviewed the 96,432 YY Live PUs that XHL tracks. Our analysis found that
  24.9% of these PUs were controlled by YY. We further found that their gift contributions accounted for
  48.0% of the gift revenue in our sample.

  We identified these YY-Controlled PUs by cross-referencing our data analysis with the PU information in
  the XHL database. We define a YY-Controlled PU as either (a) a PU that displays an YY local server or
  internal network IP when sending gifts, or (b) a mobile device ID (IMEI) that is directly or indirectly
  linked to a PU under a YY-controlled channel owner.


  5
    Four-month monitoring period: From Oct 2019 to Jan 2020. Expanded monitoring period: Nov 27, 2019 to Feb 5,
  2020.
  6
            www.xiaohulu.com ,
  7
    YY 2019 20-F, p. F-20
  8
    Jin Cao is the owner of XHL. He also currently holds an interest in two of YY’s VIEs, Guangzhou Huaduo
  Network Technology,                                   , 2.11%; and Beijing Tuda Science and Technology
                       , 0.77%, and has been the legal person at Guangzhou Duowan
  since Dec 2008.
  9
    YY 2012 F-1 filed Oct. 15, 2012, pp.161-162, CAO was identified as one of the key executive officers,
  concurrently holding positions as VP and GM of the Website Department. Cao reportedly left YY in 2015, but has
  maintained his share interest and status as a company legal representative at Guangzhou Duowan.
  10
     Nevertheless, we found that there were still discrepancies in XHL’s data. See Appendix B for more information.
  11
     For additional information on the data, sources, and methods see Appendix C
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  We obtained the PU information from XHL, which consists of 96,432 PUs contributing RMB 686.5
  million in gifts. The PUs falling into at least one of the above categories totaled 24,051, or 24.9%. These
  PUs contributed gifts totaling RMB 329.8 million, which was 48% of the total.
  There were 1,382 PUs exhibiting two types of behavior that showed YY control (“Internal Network FUs”
  and “YY Server FUs”, described in the text box below). 300 of these PUs had gift information data in
  XHL indicating they had sent RMB 17.5 million in gifts, equal to 2.5% of all gifts in the XHL data set.
  This category, though small in absolute terms, led us to two other, much larger categories that shared
  IMEIs with these users, linking them closely to YY.


       Internal Network FUs and YY Server FUs Revealed Themselves Through Glitches

       Internal Network FUs are PUs that display YY’s internal network IP addresses, 100.64.0.0 ~
       100.64.0.10. YY Server FUs, on the other hand, are PUs that carry the local host server IP, 127.0.0.1.
       The IP addresses these FUs display can only come from inside YY. However, these internal IP
       addresses normally get masked with normal IPs. FUs reveal these IPs only rarely: we suspect that YY
       typically uses a VPN or other software to disguise the transactions that are coming from within YY.
       We caught these FUs thanks to our continuous monitoring of PUs during our observation period. For
       more information on IP patterns of Internal Network FUs and YY Server FUs, see section “Time to
       Upgrade the FraudTech: Slip-Ups Reveal YY-Controlled Gifting”.



  20,399 PUs shared IMEIs with the YY Internal Network FUs and YY Server FUs above. Of these, the
  XHL gift data for 10,606 PUs recorded RMB 91.1 million in gifts, equal to 13.3% of gifts in the XHL
  data set. We deem these PUs to be FUs. To the extent these FUs were also performers, we classed their
  channel owners as YY-controlled.
  Another 30,323 unique, deduplicated PU IDs shared IMEIs with performers who belonged to YY-
  controlled channel owners. Among these were 13,145 PUs with XHL gift data. These 13,145 (13.6%)
  users sent out RMB 221.2 million in gifts, equal to 32.2% of all gifts in the XHL data set.12 We deem
  these to be additional FUs.
  Summing these FU groups’ gift contributions, we identified 48.0% of livestreaming gift revenue above to
  be fraudulent based on IMEI sharing alone. We establish below that the remaining half of livestreaming
  gift revenue is likely almost entirely fraudulent as well through additional research techniques. We relate
  two PU samples that show that the vast majority of PUs are bots and therefore FUs, making fraudulent
  gift transactions and/or displaying signs of control by YY.
  In the table below, we show PUs by category alongside their gift totals.13 We start with the YY Server
  FUs and YY Internal Network FUs and work our way outward, building to 24,051 users (24.9% of the
  total) who sent RMB 329.8 million of gifts (48.0% of the total).



  12
     For more information on the connection methodology, see Appendix C.
  13
     The following information is based on the 52,104 PU IDs are based only on the PUs' info we monitored and
  collected, which we believe is a representative sample size. We are not suggesting YY has only 52,104 PUs. With a
  more complete list of PUs' gifts for December 2019, the percentage of the gifts from YY-controlled PUs would
  likely rise.
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   Though we have identified that one-quarter of the total number of PUs were connected to YY, it does not
   mean that three-quarters of PUs and half of gift payments are real. Instead, as we lay out below, the
   majority of the remaining PUs possess different kinds of linkages to YY that make them FUs.


   YY Live’s Platform Angels Program Shows Only 1 in 3 FUs Can be Spotted by IMEI Sharing

   During the National Day holiday in October 2020, YY ran a new promotion called “Platform Angels”.
   New performers were rewarded with gifts sent by YY-controlled PUs, or “Angels”, as rewards for
   broadcasting according to a regular schedule.



                                                                Broadcast Continuously Over the Holidays
                                                                         & Triple Your Income

                                                                            Upcoming Days’ Tasks

                                                                  10.3 10.4 10.5 10.6 10.7 10.8 10.9
                                                                   NC                                    future future


                                                                Complete 5 days, est. daily task rewards:    x3200

                                                                             Rewards Limited to Holidays
                                                                                       9/30 – 10/8
                                                                A. Broadcast daily for 4 hrs. (this is a requirement)
                                                                B. Add 2 new followers during the daily broadcast
                                                                C. Complete 2 PK battles each day, receive a
                                                                   minimum of 1 ticket in each battle


   The Platform Angels’ gift delivery timing was extremely precise, arriving on the performer’s screen at the
   exact same second each day. The Platform Angels’ names often self-identified as coming from the
   platform, and their precise gift delivery time made them easy to identify.




                                    Platform Angel Sends 400 “Lollipops”
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                                            “Platform Angel” PU Profile


   We collected information on 82 of these “Platform Angels” and cross-checked the “Platform Angel” PUs
   against our database. We found that only 26, or about one-third, were in our records of YY-controlled
   user IDs identified via IMEI sharing.

   Their numbers indicate that for every YY-controlled FU we identified by IMEI sharing, there are likely
   another two YY-controlled FUs that did not reveal themselves via the IMEI methodology. This supports
   our finding that ~90% of YY Live gift revenues are fake.


   Sampling Wuhan PUs Indicated that ~87.5% Were Controlled by YY

   We looked at YY users in Wuhan to examine whether they might be bots.14 Wuhan was a fertile FU
   hunting ground because of its strict COVID-19 lockdown, during which it was almost impossible for non-
   bot users to move locations. We searched our records for PUs with Wuhan IP addresses who were
   actively giving gifts during the start of the lock-down period. A random sample of these active Wuhan
   PUs indicated that ~87.5% were fake based on their transaction details and gift giving behavioral patterns.
   To be deemed fake and YY-controlled users, PUs in Wuhan had to display indicia of both fraud and
   control, including:

        •   Sharing IMEIs with devices connected to YY Internal Network FUs
        •   Making abnormal IP jumps from one geography to another
        •   Using an IP address in a large block of IPs identified for sending gifts to controlled channel
            performers (i.e., from a bot farm)
        •   Sending the majority of their gifts to performers at YY-controlled channels
        •   Or displaying other hallmarks of fraudulent or controlled behavior.

   14
     To avoid selection bias, the PUs selected were identified with a sequential sample selection methodology. Again,
   a 95% CL, 10% CI, and sample size of 96 PUs was adopted.
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   We took a random sample of 96 PUs out of the 15,866 PUs with Wuhan IPs collected in our November
   2019 to February 2020 data set. We found that 87.5% ±10% (84 of the 96) of the PUs were FUs that
   displayed indicators of fake or controlled criteria described above, with a confidence level of 95%.15 The
   majority of the identified FUs displayed two or more FU indicators. The most commonly observed
   indicators for fake and controlled activity were IMEI sharing (55 of 96) and abnormal IP jumps (17 of
   96).




   Financial Statements for the Top 5 YY Live Channel
   Owners Show an 85.9% Revenue Discrepancy, Supporting
   our YY Live ~90% Fraudulent Revenue Estimate
   YY claims its top channel owners earned RMB 1.1 billion in revenues in 2018. We obtained these top
   channel owners’ local credit reports, which showed that their combined revenues were only RMB 156.3
   million, which indicates an 85.9% revenue overstatement.

   According to YY, Yujia, Huashe, Wudi, Chinablue, and IR were the top five channel owners by revenue
   in 2018. YY purports that they generated over RMB 1.1 billion in 2018 revenue.16 Below is a screen shot
   of a video on YY’s website that makes this claim and states “2018! YY’s 5 biggest channels draw more
   than RMB 1.1 billion in revenue”.




   However, we obtained China credit reports for these channel owners revealing that their combined 2018
   gross revenues were just RMB 156.3 million. This constitutes a shortfall of 85.9% compared to YY’s
   claim. We are confident that the credit report revenue number is gross of payouts to performers based on
   reviews of PRC legal disputes in which performers were shown to be paid by channel owners, as well as

   15
        Statistical calculations performed on https://www.surveysystem.com/sscalc.htm
   16
        https://www.yy.com/yue/126413?from=yy.com, translation in screen shot by Google translate
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   our interviews with major channel owners. Below, we compare YY’s SAIC revenues to YY’s claimed
   revenues:




   In Q4 2019, these five channel owners comprised approximately 28.0% percent of YY Live revenues.
   The five remain top channel owners today, according to XHL, and their revenue as a percent of XHL’s
   Q4 2019 YY Live revenues are shown below:17




   We believe the 85.9% gap between the RMB 156.3 million in revenue in the credit bureau reports and
   YY’s claimed RMB 1.1 billion is suggestive of massive fraud. This methodology corroborates our
   conclusion that only ~10% of YY’s revenues is real.



   Roundtripping and Fraud is Rife on YY Live
   As we detail infra, we also discovered that the majority of three top YY Live performers’ gift revenue
   comes from themselves and from YY-controlled bots. Another top performer receives a constant stream
   of gifts outside of her infrequent performances, mirroring the bot activity we saw on Modern Brothers’
   channel (discussed next). And four Top PUs that we examine below exhibited multiple indicia of FU bot
   behavior such as YY-associated IP addresses and geographic IP switching. These findings bolster our
   ~90% fake revenue estimate for YY Live.




   17
        In 2019 IR declined in the rankings, but is still a top channel in XHLs data.
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   Case Study: “Modern Brothers” Helps a Modern Fraud

   We found that purported hit YY act Modern Brothers is in reality such a non-hit that the “fans” watching
   their concert in person actually were paid to show up. More damningly, their channel benefitted from
   YY-linked PU fanbots to rack up their substantial gift totals.

   “Is it true that I’m obsessed with ghosts?” belts out Modern Brother’s lead singer, Liu Yuning (               ).18
   He is performing the chorus of the band’s supposed hit “Tell the Truth” on their livestream set in the city
   of Dandong. The shop-lined street stretches out behind him as passersby stop to listen.




   Modern Brothers Performing in a Street Concert in Dandong, one of the scrolling notes reads “now over
                                            20 million fans”19
   Yet despite the hype, we learned from a manager at a Dandong-based YY channel owner that YY paid
   people to watch this free performance in person.20 At least Milli Vanilli had real fans.
   The real misrepresentation of Modern Brothers’ popularity is evident in the prevalence of bot gifts they
   receive. We found that YY has created bots in 58 countries to donate to Modern Brothers’ broadcasts.
   These bots likely comprise the majority of the 32,398 gift-giving PUs that visited the band’s channel in
   January 2020: We found that almost all of the purported PUs we sampled were in reality Fake Users
   (“FUs”).
   We found that 97.9%±10% of the Modern Brothers PUs we sampled were likely fake.21 To ascertain the
   extent of bot activity, we examined behavioral patterns in a random sample of 96 Modern Brothers PUs
   who sent gifts during Modern Brothers’ January 30, 2020 broadcast. We selected this group as a sample
   because we believe any PUs sending gifts during a performance were those most likely to be real. We
   also selected Modern Brothers because they are unique in the YY Live ecosystem in that Modern

   18
      https://www.youtube.com/watch?v=0IVW86Y_Z-Y
   19
      https://www.bilibili.com/video/BV1Xs411L78A/?spm_id_from=333.788.videocard.0 The earlier videos of street
   concerts show no fans just shopkeepers. Apparently, this was noticed and rectified by paying young adoring fans to
   bulk up the audience.
   20
      Investigator interview with YY channel owner manager
   21
      Sample derived from a sequential sample selection method. Sample population: 6440. Sample size: 96. CI=10,
   CL=95%. Result: 2 of 96 (2.1%) possible real users. 2.1%±10% = 0~12.1% of 6,440 = 0~778 possible real users.
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   Brothers’ channel owner is YY itself. Therefore, there is little question of any interested third party being
   the force behind the fraud.
   We identified FUs in this sample based on their pattern of sending gifts to Modern Brothers regularly and
   repeatedly on days the group was off air. Some PUs giving gifts to Modern Brothers also displayed IP
   addresses connected to YY’s servers, which further indicates that they were YY-controlled bots.
   In a particularly successful month, Modern Brothers ranked as the #97 top performer on YY and made
   RMB 2.9 million in gift income.22 However, it seems that YY employed FUs to generate this ranking.
   Data from XHL as well as the YY app itself show patterns suggestive of bots from July 2020 through
   September 2020. For example, on July 22nd and 23rd, 2020, Modern Brothers did not perform, yet the
   channel received RMB 2,631 from 15,286 PUs and RMB 4,007 from 22,427 PUs, respectively.




              Modern Brothers Gifts Flowing in While Dead-Air Streaming, Image from July 23, 2020
   Although Modern Brothers’ normal broadcasting time is in the evening from 7-10 pm, the purple line
   shown in the XHL gift transaction records below indicates that FUs sent continuous streams of small gifts
   24 hours a day, indicative of bot activity. The image from the XHL dashboard below displays data from
   July 22, 2020, a day that Modern Brothers was not performing on air.



   22
        December 2019
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                             XHL Dashboard of Gift Contributions to Modern Brothers



   Case Study: Top YY Performers like “Big Li” Get Tens of Millions of RMB in Fake Gift Contributions

   We found that Big Li, a top performer at YY, receives almost all of his gift contributions from YY-
   associated devices or from himself. We found this by analyzing transaction data for his channel, which
   revealed that eight users with Device IDs associated with Big Li’s own device contributed over 80% of
   his December 2019 revenue. This nexus of devices was not only connected to YY-controlled FUs, but
   collectively, this network of users paid out significantly more to performers than Big Li earned, indicating
   that this is a YY-backed revenue inflation scheme. Among the three top performers, we found a common
   pattern of shared IMEI linkages to large groups of YY-controlled FUs.23

   Big Li, shown below, is former security guard who has purportedly risen to fame through YY Live.




   23
     all of the top 3 performers shared their mobile IDs, or IMEIs, indirectly with one YY server user with other 19388
   PUs. (19392-3 top performer – the server user)
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   Left: Big Li, in a 2018 broadcast.24 Right: Big Li receiving his crown at the 2019 annual award
   ceremony and thanking Pingshen, his top contributor, for helping lift him to victory.25


   Day to day, Big Li runs a variety show on YY, cracking jokes and bantering with other performers and
   fans. The Hebei native calls his 8.4 million purported fans Li’s Army, and his streams each boast
   hundreds of thousands of views. As the number-three performer on the YY platform, Big Li receives tens
   of millions of RMB in donations each year. In December 2019 alone, 28 million RMB, or 40% of that
   month’s gifts, came from Big Li’s #1 Top PU, Pingshen.26 That’s a pretty good payday for a former
   average Joe from Hebei.
   However, our investigation revealed that Pingshen shares Big Li’s IMEI. We found fourteen other PUs
   whose IMEIs were also connected to Big Li, including eight Top PUs. Over the four-month period, gift
   contributions from these eight accounts amounted to much more than Big Li received.
   Overall, we believe ~85% or more of the XHL-reported RMB 18.2 million in gifts Big Li received to win
   the December 2019 annual competition originated from YY’s FUs.27 Our analysis indicated that out of
   the RMB 13.7 million of such gifts for which XHL captured in-depth data, YY-controlled FUs
   contributed RMB 13.1 million, or 96% of the total.28 We believe that the majority of the remaining PUs
   contributing to Big Li in December 2019 are bot FUs that gave gifts repeatedly when Big Li was off the
   air:




   24
      https://www.yy.com/u/99444
   25
      https://v.qq.com/x/page/l3050cg41vr.html
   26
      Pingshen is usually known as                , but also went by             . Pingshen’s UID is 595157503
   27
      XHL reported Big Li’s December 2019 gift income was RMB 18.2 million.
   28
     XHL’s database contained details on 81 PUs with gifts to Big Li totaling RMB 13.7 million, or over 75% of the
   data set’s December 2019 gifts.
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   Above: Example of Big Li continuously receiving gifts when off the air, especially from early morning
   (midnight to 6:35am Beijing time) on September 19, 2020.29
   To us, Big Li seems more like a big lie.
   We found such fake donations and inflated revenue were the rule and not the exception in the YY
   ecosystem, corroborating our findings that ~90% of YY Live revenue is fake. We lay out how the
   sausage gets made among various top YY Live performers below.


   The Big Lie is Mutually Controlled Accounts

   We found that through his network of associated accounts, Big Li gifts even more than he gets. We
   identified a group of fifteen PUs connected in a nexus of IMEI sharing that tie Big Li and one other
   performer directly to YY’s #1, #24, and #48 top PUs. His network of shared IMEIs also indirectly
   connects him to YY Network PUs and YY Server PUs.




   29
     Big Li’s UID is 376746888. This is indicated in XHL’s URL. Big Li’s normal airtime is at night from 9pm to
   midnight, sometimes he streams for a few hours in afternoon.
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            Top 3 Performer Mr. Li Shares His IMEI with 12 Other PUs, Including Eight Top PUs


   From October 2019 to January 2020, his core group of IMEI-linked PUs sent out RMB 38.4 million in
   gifts to Mr. Li and other performers. During this time, Big Li received RMB 26.9 million in gifts, while a
   performer whose IMEI was linked with Li received 0.15 million, making RMB 27.1 million in total
   earnings for Big Li-linked users. After subtracting the 50% cut that should be taken by the YY platform,
   they earned RMB 13.5 million. However, over the same timeframe, these accounts associated with Big Li
   gifted RMB 38.4 million. This means that the net result for accounts associated with Big Li was cash
   outflows of RMB 24.9 million, even as YY seemingly recorded RMB 13.5 million in revenue from these
   transactions. Accordingly, we believe that YY helps Big Li prop up his and other performers’
   popularity—and YY revenues—by spending far more than he gets:




            Accounts Bearing IMEIs Associated with Mr. Li’s Give Gifts Exceeding His YY Income
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   We found that although top PUs and top performers appear to be different people, they are often
   connected to each other through a murky network of shared IMEIs.30 If they were an independent
   organization, sending gifts to themselves and others, they seemingly could not remain in business long.
   However, we do not believe this is the case. As evidenced by the IMEI sharing, connections to the YY
   Server PUs and YY Internal Network FUs, we believe both Mr. Li and his cohort of connected PUs
   operate under the ultimate direction and control of YY. Big Li is one of many top performers we caught
   exhibiting this behavior.


   Case Study: “Xiaozhou”, YY’s Top Performer from October 2019 to January 2020, Exhibits Similar
   Behavior

   Like Big Li, #1 top performer Xiaozhou showed massive gift contributions from users with associated
   IMEIs. These users were connected to YY-controlled PUs, and the group of associated accounts paid out
   more in gifts than Xiaozhou received, indicating revenue inflation coming directly from YY.

   Xiaozhou was the #1 performer on YY Live over the full term of our data collection period. From
   October 2019 to January 2020, XHL displayed RMB 34.4 million in gift income for Xiaozhou, more than
   for any other channel. This amounts to RMB 17.2 million after YY’s platform cut.




                                             Xiaozhou’s YY Profile Page

   However, we found Xiaozhou’s secret: the IMEI associated with his account is also associated with the
   #2 PU on the entire YY platform, as well as the #8, #35, #146, and #562 PUs:




   30
    Shared mobile devices are determined by the display of identical shared IMEIs in the data recorded collected from
   YY.
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            Top Performer Xiaozhou, ID: 59458539, Shares His IMEI With a Network of Top PUs


   Upon aggregating these associated accounts, it turns out that Xiaozhou gave out gifts amounting to RMB
   25.7 million over the same period. As a result, rather than earning money from YY gifts, the Xiaozhou
   group of accounts paid out a net RMB 8.5 million while YY booked RMB 17.2 million of revenue:

                                                                                Paying users'
                                 ID               Paying users' name              ranking       Gift (Rmb)
                                1839947256                                           2            12,696,580
                                2482837809 1                                         8             8,262,016
                                2522020427                                           35            3,342,279
                                  59458359     988                                  146            1,048,263
                                1439886950                                          562              342,957
                                           Cash outflow                                           25,692,096




                                                                                 Performers'    Gift income     Performers'
                                 ID                  Performers' name              ranking        (Rmb)        Channel owner
                                  59458359                                            1           34,388,567      Huashe
                                             Cash inflow                                          17,194,284 c=b*50%
                                             Net cash outflow                                      8,497,812

                         Note: the performers and channel owner's revenue share is 50% in general.




   Case Study: The Same Goes for #2 Top Performer “Ruitiantian”

   Top performer Ruitiantian shows the same YY-controlled gifting behavior as Big Li and Xiaozhou. Her
   associated users paid out significantly more in gifts than they earned as part of the YY fraudulent revenue
   inflation scheme.




                                                    Ruitiantian’s YY Profile Page


   From October 2019 to January 2020, Ruitiantian netted RMB 34.1 million in YY gifts, per our channel
   monitoring. Ruitiantian shared 6 IMEIs with a whopping 15 Top PUs, including YY’s #4 Top PU,
   “Yang,” and the #7 Top PU, “Haha Laugh.”
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     Top Performer Ruitiantian’s IMEI is Shared with a Network of Top PUs, Including “Yang”, Her Top
                                                    Contributor


   Collectively, the group showed a net cash outflow of RMB 12.0 million. Yet, YY would have recorded
   RMB 17.1 million in revenues from gifts given to Ruitiantian, as shown below.




   YY works hard to keep the illusion of independence between Top Performers and Top PUs. An internal
   YY news story told of Ruitiantian’s amazing victory with the help of her top contributor, Yang, during a
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   faceoff with another performer. Curiously, in the heat of the competition, Ruitiantian got up and left her
   seat, after which her devoted patron Yang suddenly sent one of the most expensive virtual gifts, boosting
   Ruitiantian to victory.31 But there is no miracle here: IMEI sharing between Yang and Ruitiantian shows
   that Yang is inflating Ruitiantian’s earnings—and YY revenues—by tens of millions of RMB.
   The 3 top performers discussed above, Big Li, Xiaozhou, and Ruitiantian, shared IMEIs with a group of
   19,391 PUs who also shared an IMEI with a single YY Server User, called “Thin Noodle, who is
   discussed infra. In December 2019, their combined net cash outflow was RMB 106.0 million.




   These connections between performers and PUs further support our estimated that YY has fabricated
   ~90% of gift revenue. As we detail below, YY accomplishes this feat with the help of a network of PU
   bots and close ties with channel owners.


   Case Study: Top Performer ShenMan Regularly Receives Tips When Not Broadcasting

   ShenMan, the winner of YY’s 2017 annual competition, also received barrages of gifts and tips from a
   large number of PUs, even when not broadcasting for nearly one month.




   31
        https://www.yy.com/yue/182938 , “
                                                                                         .” “Last night, Rui Tiantian
   was fighting with a beautiful anchor. During the fight, Rui Tiantian got up and left her seat. Tycoon Yangyang
   appeared and brushed a jumbo jet, launching her into the lead in a matter of seconds, helping Rui Tiantian's defeat
   her opponent by a wide margin.”
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   In late July of 2020, data on ShenMan’s broadcasting room showed her last broadcast had been 29 days
   prior. According to both XHL and YY’s own platform contribution records, over the course of a week in
   which she had not performed, ShenMan received RMB 9,958 in gift contributions. In light of the
   abundance of revenue inflation evidence we uncovered, we believe such contribution patterns are
   hallmarks of yet more fake sales.
   According to XHL’s data for ShenMan, over the course of the 30 days prior to July 23, she did not
   perform on 28 days. Nevertheless, over the same period, 10,452 PUs sent her gifts of less than RMB 10.
   The purple line starting below at June 25th shows that the trend of off-air gifts was continuous and
   regular, suggestive of bot activity responsible for the flow of low-value gifts:
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   Bots like these appear to be a necessary condition for performers to be successful on YY.


   Case Study: Channel Owner Claims Cuiazha’s Contract Pays Her Only a Fraction of RMB 60
   Million in Annual Gifts

   We found that performers are often vastly underpaid compared to what they would be expected to earn
   from their gifts. This is because the gift totals are fake. The faking of YY’s revenue is further enabled by
   the interlocking nature of YY channel owners, as we found that the top eleven channels were founded by
   former YY employees or were spun off from such channels. We found that a top performer who has
   alluded to bot activity on his channel was, indeed, the beneficiary of significant bot contributions. We
   also tracked gift contribution histories of four Top PUs and found that they were FU Bots, as they show
   IPs coming from inside YY; exhibited impossible geographic IP address switching; or both.

   This past winter, our investigator stepped onto a commercial plaza in Dandong, a port city at the mouth of
   the Yalu river across from North Korea. The investigator took an elevator halfway up one of the
   skyscrapers to enter the midsized office of a YY channel owner. The head of the channel owner was
   roughly 35 years old, and he looked as casual as he spoke: Dressed in a polo shirt and jeans, he was happy
   to discuss how the channel owner created the appearance of earnings for its performers.
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   He brought up Cuiazha, the #16 performer on YY during our four-month monitoring period, highlighting
   her headline annual earnings of RMB 60 million in gifts and claiming that her real earnings were from a
   monthly salary that was much lower.




                                                       Cuiazha32

   “Cuiazha looks really big-time,” he said. “How much does she earn every month? Take a guess.”
   Without even waiting for our investigator to respond, he breathlessly continued, “The contract with her is
   that she can only have a monthly salary of just 150,000 - 200,000 RMB for the next two years. All the
   rest is the company’s.”
   In other words, he was saying that Cuiazha agreed to an annual compensation package equal to
   ~$300,000, or just 4% of her supposed gift total. If this is correct, which we believe it is based on our
   other research, it speaks volumes about the revenue inflation at YY. In Cuiazha’s case, she seemingly
   should be entitled to approximately RMB 15 million in gift revenue sharing per year, as channel owners
   generally remit 20% to 30% of the virtual gift revenues received by performers.33 The magnitude of this
   alleged pay discrepancy suggests that revenue on her channel could be overstated by over six times.




   32
     http://www.bestchinanews.com/Fashion/18739.html
   33
     According to the performer agreements with the platform, channel owners receive ~50% of the gifts income, of
   which 20% to 30% of that 50% would be retained by those Channel owners. The remaining 70%~80% of that 50%
   split of the shared gift revenue is by the Channel owners to the performers. Evidence presented in Chinese lawsuits
   and court documents show the revenue share from the platform and then paid the YY Live performers. As such, the
   revenue reported is gross revenue including that share that is due to the performers. Although there are some
   performers who are not paid this way, they are rare, the vast majority are paid via the channel owners.
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   Other performers have also discussed the meaningless YY gift totals and the contrived nature of the
   ecosystem, even while receiving significant bot contributions themselves.


   Case Study: Performer Liu Yishou Openly Jokes About YY Being a Scam

   Our analysis found significant bot activity on the channel of one top performer, Liu Yishou (       ),
   with a group of users from the same IP block donating to the same list of performers, including Liu. We
   found them to be YY-controlled bots because each performer on the list received similar-sized donations
   from group members, even as these donation sizes varied from performer to performer.

   Liu is a star YY performer who has joked about paid scamming on the YY platform. He made headlines
   in China’s livestreaming blogs for a scandal involving his jumping to a competitor’s platform, Kuaishou,
   in hopes of making more money, but then being forced to return after losing a suit from YY.34 YY
   celebrated his return and let him resume his top earner status.35 An interview made after his return ran on
   the headline “Liu Yishou said if he didn't return to YY, he might have been gone forever. This time, he
   came back to ‘scam money.’”




                                            Interview with Liu Yishou




   34
        https://www.sohu.com/a/342283839_161795
   35
        https://www.yy.com/yue/181399
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   At the end of the interview, Liu Yishou gave a warning to fans and small, aspiring performers:

                          YY                                                      “      ”
                                                                  5000

           “Liu Yishuo explained that YY is a platform which requires money to play, he himself also
           returned just to ‘scam money.’ But he called out to those whose daily work involves brushing
           (sending fake) gifts, telling them if you are making less than 5,000 RMB a month, sending
           yourself gifts is not worth it.”

   Not surprisingly, as we demonstrate below, we found that YY-controlled bots supply Liu Yishou with
   fake gifts.

   Liu still ranks as a top earner and he receives continuous streams of small contributions. Many of these
   contributions appear to come from groups of PUs. These groups, which can be identified because they
   are clustered in specific IP address blocks, feed a stream of near-identical gift amounts to near-identical
   groups of performers, including when the performers are off air.




                               Liu Yishuo Receiving A Stream of Gifts While Offline


   We traced 100 IP addresses used to contribute to Liu Yishuo’s room back to 38 different IP blocks.36
   During the expanded monitoring period from November 20, 2019 to February 4, 2020, we collected
   gifting data from 26 IPs in that IP block. Within the block, we identified 14,503 PUs repeatedly sending
   gifts to 35 performers. The 35 performers belonged to 16 different channel owners and YY, and 11 of
   these performers were ranked as Top 100 channels for gift revenue.



   36
     Most of these networks were hiding behind VPN’s, which is a highly unusual in China for two reasons: in China
   VPNs are normally used tunnel under the Great Firewall which slows down the broadcast feed, decreasing the
   quality of the viewing experience.
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   This diversity of beneficiaries is compelling evidence that the gifting network was not operated by a
   single channel owner or small clique of channel owners, but by YY itself. As we see below, three of the
   IPs in this IP block made near-identical total contributions to the same performers, including Liu and
   performers Little BJ and Picasso. This activity is compelling evidence of non-human, programmed
   activity:




       Near-Identical Gifts from Neighboring IPs to Same Performers Suggest These PUs Are FU Bots


   A Channel Owner Illustrates the Interlocking Revenue Inflation Scheme with YY

   Our investigators learned that YY’s revenue fraud is made possible by the fact that most top channel
   owners are explicitly or implicitly set up or heavily influenced by YY.

   Our investigator drove up to a handful of small houses that sit in a residential compound in Guangzhou.
   These are the unassuming offices of a large YY channel owner. It was founded by an ex-YY employee
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   and pioneer of YY’s livestreaming channel owner system. Its predecessor channel owner, called “The
   80s”, had dominated YY broadcasting by managing thousands of performers.
   “Our weight accounted for 70% of the total [performers], and any of the names that were mentioned on
   the platform, everyone knew they were from our company,” a senior talent manager explained.
   This concentration of talent under one channel owner seemed strange, given YY’s supposedly broad
   performer base. However, an employee at a subsidiary of this channel owner explained that “The 80s”
   started with the aid of Chairman David Li’s assistant, a woman named Wang Xiangqi. Not
   coincidentally, Wang later moved to Singapore and was involved in setting up Bigo.37
   “It’s like this,” he told our investigator. “plainly speaking… because Mr. Li’s [Chairman David Li’s]
   support for our company is so great, all of our three channels were provided by Mr. Li for free. We did
   not spend any money [to buy them].”
   We believe this assistance conceals the fact that the performers, the agencies, and YY itself make much
   less in legitimate sales than the constant stream of gifts implies. In fact, the close-knit nature of YY and
   its channel owners makes revenue inflation all the easier.
   The platform-channel owner-performer triangle is under YY’s control. The top 11 channel owners
   serving YY were created from the platform itself, while large channels have co-founded small channels
   with performers, effectively creating a YY-led branch network. Through YY’s closeness with channel
   owners, YY has created the illusion of a third-party relationship while allowing the company to maintain
   control of its Potemkin ecosystem of fake viewers and inflated revenues. Prior to 2016, performers had
   been hired by and contracted directly with the platform’s company, Huanju Media.38 Starting in 2016,
   however, new performers signed contracts with the channel owners.

   Over the past four years, YY channel owners have set up new channel owners and purchased partial or
   total stakes in others. According to SAIC information and our analysis of contributions made by top PUs
   associated with the channels, we can see that the Top 11 channel owners control many smaller channel
   owners.39 XHL data shows that stated gift revenue earned by the Top 11 channel owners amounted to
   ~44.1% of YY’s stated gift revenue in Q4 2019.40




   37
        https://www.newton.com.tw/wiki/
   38
        Chinese lawsuit:
   39
        For example, Yujia is the parent company of L+.
   40
        Source: XHL data
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                           The Top 11 Channel Owners and Their Share of Total YY Gift Revenue


   Using the previously discussed methodology for identifying YY-controlled channel owners by tracing
   shared, YY-linked IMEIs, we believe it very likely that 500 additional channel owners are also controlled
   by YY. Collectively, these channel owners’ revenues equate to ~80% of YY’s Q4 2019 revenues.


   Time to Upgrade the FraudTech: Slip-Ups Reveal YY-Controlled Gifting

   The cozy YY-channel owner relationship handily enables revenue fraud. Through our data collection
   activities, we were able to use Top PUs’ IPs to identify widespread FU Bot contributions. We present the
   cases of four such Top Paying FU below.

   We found PUs’ ties to YY when they exposed internal IP addresses in their website logs. These PUs
   were either connected to the local host server IP (127.0.0.1) or to YY’s local networks (100.64.0.0/.10).41
   Such users are herein referred to as YY Internal Network FUs, since they could not be associated with
   these IPs unless they were working within YY servers. These FUs, both humans and bots, systematically
   bolstered gift revenues for a wide variety of performers across different channel owners, indicating the
   breadth of revenue fraud in the YY ecosystem.


   Case Study: FU Bot Activity for Dafashijian, or “Killing Time” (                        )

   Killing Time is an apparently well-known Top PU who also has managerial sway in the YY ecosystem.
   We found that his account demonstrated FU Bot activity.

   Killing Time ranked the #4 PU over our four-month monitoring period, with RMB 9.7 million in gifts.
   He was also involved with two top YY channel owners, Bluerain and Qiling, for more than 8 years.42 He
   is currently the channel manager of Qiling.


   41
      In this report, fake users presenting the local host server IP (127.0.0.1) in the transaction logs are referred to as
   YY Server FUs and the paying users presenting YY’s local network IP addresses (100.64.0.0/.10) are referred to as
   YY Internal Network FUs
   42
      As indicated in the film “People’s Republic of Desire.”
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   The local host IP, 127.0.0.1,43 suddenly emerged in Killing Time’s gifting pattern, which we believe
   indicates an accidental leak, perhaps caused by a temporary glitch in the software used to mask the user’s
   real origin. We collected 8,908 of Killing Time’s gifting transactions; of these, 50 in our sample set
   recorded the IP address 127.0.0.1.




               Killing Time’s Gifting Activities Originating From a “Normal” IP, 11/20/19-2/4/20




                  Killing Time’s Gifting Activities Originating with IP 127.0.0.1, 11/20/19-2/4/20


   Case Study: Thin Noodle (              or                          )

   We found that Thin Noodle, the #91 Top PU during our monitoring period, sits in a network of FU Bots.
   Thin Noodle exhibited near-impossible geographic IP skips between Chile and China while also revealing
   the local host IP address, 127.0.0.1.

   We found 19,391 PUs’ IDs were connected to “Thin Noodle” through various shared IMEIs. In other
   words, while a viewer would observe 19,392 individual users, our data collection showed that all of these
   PUs were in fact FUs tied to the same program that ran “Thin Noodle’s” account. These IMEIs include
   those of the top three YY Live performers: Big Li, Xiaozhou, and Ruitiantian.

   As with Killing Time, the local host IP address 127.0.0.1 appears to have been exposed by accident. Only
   10 of 12,926 (<0.08%) of Thin Noodle’s transactions displayed the IP 127.0.0.1.




   43
      A 127.0.0.1 is an IP created by a “localhost” indicating that the activity is being conducted within the server itself,
   totally separate from the external internet.
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                Thin Noodle’s Gifting Activities from a Seemingly Normal IP, 11/20/19-2/4/20




               Thin Noodle’s Gifting Activities Originating from IP 127.0.0.1, 11/20/19-2/4/20

   Thin Noodle’s IP traveled from China to Chile in minutes, which would be impossible for a real person
   (assuming he’s not in orbit) and shows Thin Noodle is part of a FU Bot network.

   Thin Noodle’s IP bounced from Chile to China and back to Chile again in the span of minutes. The
   127.0.0.1 local host IP address was also revealed when a barrage of gifts was sent out at UTC 17:26
   below, while the IMEI field turned blank, as can be seen in the middle column of the log. When the next
   set of gifts went out at UTC 17:42, the program resumed displaying an IP address in Santiago, Chile.




            Thin Noodle’s Rapid IP Switches: From Santiago to Shenzhen to Local Host and Back

   This rapid IP movement from Chile to China and back was not an isolated event. On Jan 25, 2020, the
   transaction logs show that Thin Noodle’s IP again hopped from Santiago, Chile to Beijing and back in
   less than 50 minutes.
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            Thin Noodle: From Santiago, Chile to Beijing and Back to Santiago in Under 50 Minutes


   Case Study: FU Bot Activity for Orange Juice, a Live Broadcast Room Manager (                             )

   Gift contributions from Orange Juice, a Top PU and a channel room manager for YY, showed internal
   YY IP addresses as well as the local host IP of 127.0.0.1, indicating bot activity on this account.

   Orange Juice was the #109 Top PU for the four-month monitoring period from November 2019 to
   February 2020 and an “intern room manager”, as seen below. Room managers are used by YY or channel
   owners to monitor performer-viewer interactions and assist with controlling content.44




                                         1369 Orange Juice PU profile on XHL

   According to an interview with a different room manager, some would be paid in YY’s Y Coin for their
   work, even though that is illegal under PRC law. Paying for services with virtual currency is in direct
   violation of Chinese laws and regulations pertaining to the use of virtual currencies in online gaming




   44
      In China there are content restrictions against politically problematic content, sexually risqué content, etc. which
   need to be monitored. The room manager is responsible for monitoring and managing the discussion, so it does not
   run afoul of the regulations. As explained above, the platform also gives some of them additional responsibilities,
   like boosting bot attendance in the room or managing bot gifting activities.
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   forums.45,46 Below, a recruitment advertisement posted by YY offers room managers “oceans of Y
   Coin.”47,48




   “YY 59 Talk Show /992 Nights Channel Urgently Needs Room Managers. Compensation: a YY bear, a YY
                              bag, YY swag, and lots of Y Coin await you.”a

   Orange Juice’s gifting pattern shifted into that of an FU Bot in June 2020, presenting additional evidence
   that YY is using FU Bots extensively on its platforms. Though Orange Juice was a Top PU, he used both
   an internal YY network-connected IP and the 127.0.0.1 local host IP.




                 Orange Juice’s Gifting Activities from a Seemingly Normal IP, 11/20/19-2/4/20




   45
      http://www.chinaiprlaw.com/index.php?id=5119 In China, virtual coins can be used for limited transactions, such
   as in game purchases of virtual items. They are prohibited from being used as a currency to pay staff, settle debts, or
   make other commercial transactions. “Except for purchasing with legal currency, online game operating enterprises
   shall not use any other means to provide users with virtual currency for online games… The scope of use of online
   game virtual currency is limited to the exchange of virtual services provided by the issuing enterprise itself, and may
   not be used to pay for, purchase physical products or exchange any products and services of other enterprises.”
   46
      YY 2019 20-F, p. 72
   47
      The Y Coin payment is ~ few hundred RMB Y coin per month as we were told
   48
      “        YB”, http://www.yy.com/bbs/thread-29864940-1-1.html.
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                 Orange Juice’s Gifting Activities Originating with IP 127.0.0.1, 11/20/19-2/4/20

   We also found suspicious IP address skips in Orange Juice’s gifting activity on Jan 28, 2020. Orange
   Juice started sending gifts on one IP address, 112.17.241.1 in Ningbo, and then in the midst of a barrage
   of gifts, he exposed the local host IP, 127.0.0.1.49 After less than a minute of rapid gifting, the original
   Ningbo IP was displayed again. This pattern is indicative of a VPN or other IP disguising software being
   used to hide the address of the real origin of the gifts, which was YY’s own local server. We believe that
   in mainland China, it is highly unusual to activate a VPN while streaming content from a Chinese
   website. This slows down the connection speed and degrades the viewing experience.50 An example of
   Orange Juice’s gifts that came from the local host IP is highlighted below:




            Example of Orange Juice’s Gifting Activities Originating from the Local Host, 127.0.0.1

   When an abnormal IP address, such as a local host IP or an internal network-connected IP are logged,
   there is usually no IMEI recorded by YY, as seen from the blanks that appear in the “detailInfo_imei”
   column above.51 Such missing data indicates that this is not a normally operating mobile device, and
   might instead be a bot program running on a server. This further supports the conclusion that Orange
   Juice and the other users of these abnormal IPs are either bots or are assisted by bots running software
   gifting programs connected to YY servers while spoofing mobile device IMEIs and external IPs.

   Case Study: Bot Activity For “Alright” or “nonoKe” (                   or nono      )



   49
      https://whatismyipaddress.com/ip/112.17.241.1, Ningbo City, Zhejiang Province
   50
      VPNs are most commonly used for viewing content that is on overseas servers and blocked by China’s Great
   Firewall.
   51
      There were a few exceptions where the prior IMEI was repeated and carried over into the records of gift
   transactions originating from the abnormal IP addresses, but irregular performance is the nature of a program glitch.
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   Alright is the #145 Top PU. Alright not only revealed a local host IP, but jumped back and forth between
   Chinese and Malaysian IPs three times during the period of the Chinese lockdown, indicating Alright is
   an FU Bot.

   During the period from Nov 20, 2019 to Feb 4, 2020, we collected 26,653 sets of gifts from Alright in our
   sample data, with a total value of 73.75 million Y Coin, or RMB 737,486.




                          Alright’s Gift Transaction Records, 11/20/2019 – 2/4/2020


   In Malaysia, Alright’s gifts originated from multiple IP addresses, but intermixed with these were also 10
   records of gifts originating from 127.0.0.1.




   Alright’s Transactions: Gifts Originating From the 127.0.0.1 Local Host IP and Kuala Lumpur


   Alright’s IP went from Malaysia to Quanzhou, China and back to Kuala Lumpur, Malaysia in just over 20
   hours on January 27, 2020, after the lockdown period in China had already started. Five days later,
   Alright’s IP traveled to Quanzhou, Fujian again.
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   China started its lockdown gradually beginning on Jan 23. Although the international transportation
   system was not yet completely shut down, the probability of such rapid domestic and international travel
   to and from China in late January and early February was nearly zero.




          Alright’s International Travels at the Start of China’s Lockdown: Kuala Lumpur-Quanzhou


   YY’s FUs Appear to Have Access to a lot of Passports

   Over the course of our YY Live data monitoring, we identified 2.35 million gift transactions from 16,288
   PUs originating from 156 countries. The number of transactions grew significantly in early 2020.




   In addition to the inexplicable IP jumping we outlined above involving Malaysia and Chile, we also found
   that several purported overseas PUs displayed local host server IPs or YY internal network user IP
   addresses, making them YY-controlled FUs. These overseas YY FUs shared IMEIs with an additional
   1,227 purported overseas users in 60 countries.52



   52
     Notably, our review of 3rd party app analytics data on Bigo’s overseas revenues showed the gifting activity was
   heavily skewed to a limited number of geographies, with approximately three quarters of its revenue associated with
   the top ten countries.
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   Based on these findings, we believe that YY has the ability to set up large networks of overseas IP
   addresses to create the appearance of PUs in any country.
   Bigo claims users in over 150 countries;53 we do not think this is a coincidence. We believe that the
   development of the capability to generate FUs and fake traffic globally at a large scale has been a critical
   part of YY’s overseas market strategy.


   One Example of a YY Bot Farm: Over 1,100 IPs Emanating from a Small Chinese City

   By applying our FU-spotting methodology to 1,166 PUs clustered on the same IP block, we were able to
   identify FU activity suggestive of a bot farm in Heihe, China during the COVID-19 lockdown.

   In our research, we identified that FU bots displayed one or more of the following gift-giving patterns:
       • Giving gifts regardless of whether the performers were performing
       • Displaying an abnormal IP pattern—for example, hundreds of PUs originating from a single IP or
            a single IP block in a short period of time
       • And exhibiting “herd behavior”, giving gifts to near-identical groups of performers in near-
            identical amounts.

   Following the above criteria allowed us to uncover YY bot farms creating hundreds or thousands of
   viewers, made up of both fanbots who were PUs and non-paying fanbots.54 We describe one such bot
   network in detail below.

   The IP address 113.8.150.94 was one of the top IPs used on YY during the lockdown period. Over a 13-
   day period starting January 24, our data monitoring tools recorded 1,166 PUs on this IP address who
   made 25,545 discrete transactions, making it the most frequently used IP address on YY in the period.
   Three others from the same IP block—113.8.150.85, 113.8.150.88, and 113.8.150.95—were close
   runners up, with 25,422, 24,513, and 22,407 transactions, respectively. When combined, these four IPs
   generated nearly 100,000 gift transactions:




   53
      https://www.bigo.sg/about, “BIGO Technology (BIGO) is one of the fastest-growing Singapore technology
   companies, with more than 30 offices and 6 R&D centres around the world. Powered by Artificial Intelligence
   technology, BIGO's video-based products and services have gained immense popularity, with users in more than
   150 countries. These include Bigo Live (live streaming) and Likee (short-form video).”
   54
      The paying fanbots create the illusion of lots of paid gift activities. Other fanbots just create the appearance of an
   engaged audience, providing the impression of popularity and “likes” through free gifts and comments.
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                          Gift Transactions from the 113.8.150.XX IP Block, 1/24/20 - 2/3/20


   These IP addresses are located in Heihe, Heilongjiang, which by Chinese standards is a small, tier five
   city, with only about 1.3 million people.55,56 The time period in question was not just during the COVID-
   19 lockdown, but also over the Chinese New Year holiday. Finding such a massive concentration of
   individuals paying on a single IP in remote Heihe at this unusual time would have been extremely
   unlikely. There are 191,132 IPs in Heihe: thus, even if there were 1,166 real PUs in the city who felt a
   compulsion to send virtual gifts, all of them using one IP address is a near impossibility.57
   The 25,545 discrete transactions made on the IP address 113.8.150.94 sent gifts to 837 different
   performers:




                             Transaction Data for IP 113.8.150.94, 1/24/2020 - 2/3/2020

   We checked for unusual activity patterns amongst the top five PUs on the IP address 113.8.150.94 from
   this period, and we found that all five of these Top PUs were indicative of being YY-connected. One PU
   was a YY Internal Network IP user, while the other four recorded IP changes that indicated VPN usage:




                 Unusual Activity Patterns Observed for the Top 5 PUs on IP Address 113.8.150.94

   We believe this PU activity was all or substantially all from bots, likely conducted via a server whose real
   location was masked behind a VPN or other similar software.



   YY’s Dating Channels are Not a Secret Cash Cow for
   Remaining Revenues
   XHL data shows an approximate 30% difference between YY Live’s reported livestreaming revenues and
   what YY seems to have received from PUs.58 The Big One data service postulated that YY’s lesser
   55
        https://whatismyipaddress.com/ip/113.8.150.94
   56
        https://xw.qq.com/cmsid/20200404A0DIRQ00
   57
      http://ip.bczs.net/city/231100, #    2020-06-08                  IP         96           IP
   191232.
   58
      See Appendix B for more details.
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   known “dating” channels, in which girls chat with or sing for male customers, constitute most, but not all,
   of the remainder of reported YY revenues.

   However, we found that these rooms contain levels of egregious revenue inflation similar to our findings
   on YY Live. We learned this by monitoring the dating rooms for gift revenues, inactive users, and PU
   overlap.

   A third-party Chinese data analytics app, the Big One (not related to Bigo) also noted a large delta in its
   revenue estimates, and expressed its belief that at least 20% of revenue from YY Live comes from its
   dating livestreaming business.59,60 Based on Q1 2020 reported revenues, this would equate to RMB
   ~513.4 million.61
   Our investigators used data monitoring techniques to assess the dating rooms’ activity levels and revenues
   in Q1 2020. During the monitoring period, we observed that YY typically ran approximately 500 live
   broadcasting rooms daily. We further estimate that about half of the users in these rooms were “sit-in
   bots” - inactive users creating the appearance of an audience. The rooms typically showed little activity
   and some recorded near zero in contributions.62
   In many cases, the same PUs were displayed as being present in multiple live broadcasting rooms at the
   same time, and approximately two-thirds or more of the top PU lists in various performers’ rooms were
   identical.
   Following a pattern we have observed with YY and also found repeated in Bigo, many top contributors in
   the dating platform are also performers on the dating channels themselves. We estimate that most,
   perhaps as many as 90%, of the PUs were also performers.




   59
      The Big One mobile app analytics data on YY revenues contains a footnote regarding the GAP between the
   revenue tracked by the Big One and YY Live’s reported total revenue, stating that “We do not track ‘online dating’
   channels on YY Live platform for all the time periods, which contributes to more than 20% of YY Live’s total live
   streaming revenue.”
   60
      YY 2015 20-F, p.79. Dating was last broken out as a segment in FY2015, at which time its revenues were
   growing, rising from Rmb 194.1 million in FY2014 to Rmb 651.0 million in FY2015 but still, representing only
   11.0% of YY’s total net revenues.
   61
      In Q1 2020, YY’s reported live streaming revenues were RMB 2.567 billion (down from 3.162 billion in Q4
   2019). RMB 2.567 billion * 20% = RMB 513.4 million
   62
      Sit-in bots are also a common feature in both YY Live and Bigo
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                       Profile for Top PU ShenXian (               ), UID   9438587




                       ShenXian (               ) is Also a Dating Channel Performer


   During the monitoring period, the highest gift revenue we observed for a dating channel room was
   approximately RMB 150,000 in a week, while weekly gift earnings for the top 10 dating performers as of
   March 2020 ranged from 16,000 up to 99,000 per week. Even assuming there are 500 dating performers
   and each could generate RMB 16,000 per week, total revenue would still be only RMB 34.7 million per
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   month, or RMB 104.0 million per quarter. This is a shortfall of at least 79.8% from the Big One’s dating
   channel revenue estimate of RMB 513.4 million.
   Our ~80% estimated discrepancy between real and reported revenues for the dating channels is thus
   broadly consistent with our ~90% fraudulent revenue estimate for the non-dating YY business.
   Our research finds this little-discussed corner of YY’s livestream ecosystem is a not a secret cash cow,
   but just another lie.



   Anomalies in YY’s Chinese Financials Suggest Fake Cash
   and Fraud
   We obtained China credit reports for YY’s onshore VIEs and compared them to YY’s SEC filings, only
   to find numerous discrepancies. These differences amounted to hundreds of millions of RMB, including
   significant cash shortages in local financials as compared to what YY reported to the SEC.63 Such
   discrepancies, particularly in cash balances, are indicators of manipulation or fraud.

   For example, YY’s 2018 SEC filings showed RMB 1.0 billion in long-term deposits, as shown infra. We
   believe this total is likely invented or greatly inflated, as the major YY onshore VIEs do not contain these
   same long-term deposits. A cursory comparison of the two sets of financial statements reveals this
   discrepancy.




   63
        Cash (including cash, short term deposits, short term investments)
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   We compare the two sets of balance sheets below:




                        Comparison of Balance Sheets: Chinese Credit Reports (SAIC) vs. SEC

   Furthermore, we believe YY either transferred roughly RMB 1.326 billion to its WFOEs—the majority of
   which would have been transferred to its offshore WFOEs illegally—, or the cash simply does not exist.
   We calculate that out of YY’s apparent WFOE cash balance of RMB 1.298 billion as of year-end 2018,
   the vast majority, approximately RMB 1.160 billion, would be offshore. However, given YY’s SEC
   filings do not show material dividends or loans going offshore, we believe YY either violated Chinese
   capital controls in transferring the vast majority of the RMB 1.326 billion, or the RMB 1.160 billion in
   offshore WFOE cash balance is fake.
   The table below shows the combined cash balance on the non-Huya onshore and offshore WFOEs’ books,
   which was RMB 1.298 billion.
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                                   2018 YY Combined WFOE Cash Balance

   To establish the onshore-offshore split of this cash, we consulted YY’s Chinese credit reports. The credit
   reports indicated that the onshore, non-Huya WFOEs had no more than RMB 138 million in cash at the
   end of 2018. The following table shows the cash position of the major onshore non-Huya WFOEs only.




   As a result of the small onshore cash balance at year-end 2018, we know that that almost all of the RMB
   1.298 billion total cash balance was offshore: namely, RMB 1.160 billion. See below:
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   From these calculations, we can infer that substantially all of the cash transferred to YY’s WFOEs during
   2018 should have gone to the offshore WFOEs, since the onshore WFOEs not only had low cash
   balances, but did not show large-scale financing activity that might offset major cash transfers..
   To calculate the amount transferred to YY’s offshore WFOEs, we consulted YY’s cash flow statements.
   In the table below, we first summed up the total cash generated by YY’s VIEs in 2018, which was RMB
   3.380 billion. We then added this figure to YY’s year-end 2017 VIE cash to get the amount that would
   have been reflected on YY’s balance sheet had no transfers occurred: RMB 5.324 billion. This does not
   match up with the non-Huya VIE cash balances that were actually on YY’s balance sheet at year-end
   2018: RMB 3.997 billion.64
   This discrepancy of RMB 1.326 billion consists of implied transfers from the non-Huya VIEs to the non-
   Huya WFOEs, since they disappeared from the VIE cash balances in 2018. There are no corresponding
   material dividends or loans to offshore entities disclosed in YY’s 2018 SEC filings. Yet, as we concluded
   in the preceding table, almost all the transferred cash would appear to have gone specifically to the
   offshore non-Huya WFOEs. As a result, we conclude that the vast majority of the RMB 1.326 billion that
   was supposedly transferred offshore either constituted a violation of Chinese capital controls or the cash
   was never there in the first place. The detail on our RMB 1.326 billion transfer calculation is below:




              YY Non-Huya VIE Cash Flows Indicate RMB 1.326 Billion in Transfers to WFOEs65




   64
     As displayed in the preceding table entitled “Cash and Cash Equivalents in the YY Onshore and Onshore WFOEs
   65
     To be consistent with YY’s 2018 consolidated cash flow presentation, the cash balance as of 12/31/2017 consists
   of cash and cash equivalents of RMB 943,786 and restricted short-term deposits of RMB 1.0 billion
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   These unexplained offshore cash transfers raise concerns as to whether YY’s offshore cash balances are
   real.



   Bigo Seems Like an Inside Joke for Big Zero66
   We believe that Bigo’s corrupted origin story and grossly overstated revenues make it YY’s most rotten
   business. Our base case estimate is that ~80% of Bigo’s revenue is fake, roughly on par with YY Live,
   while even generous, company-favorable calculations derived from multiple app analytics providers
   suggest that ~60% of Bigo revenue is fictitious. Singapore filings show that contrary to YY’s claim, Bigo
   was founded by YY, rather than by David Li. In 2019, when YY repurchased 100% of Bigo, the
   transaction allowed Chairman Li to pocket at least $156.1 million. Furthermore, Bigo tacked on a
   mainland China VIE, also owned by Chairman Li, that made up about one-third of Bigo’s revenues at the
   time of the acquisition. We believe this China entity to be almost entirely fake based on our primary
   diligence and discussions with mainland PRC channel owners and gift merchants. In FY 2018, according
   to YY’s June 2019 6-K, Bigo’s PRC apps generated US$165.5 million, or 36.2% of total Bigo revenues.
   As of Q3 2020, we estimate that this largely fraudulent PRC unit’s purported revenue was still growing at
   $67.2 million, or $269.2 million annualized.

   By monitoring top channels and interviewing former Bigo country executives, we found that the majority
   of the viewer traffic on the site is from bots, while much of the “revenue” is quid pro quo gift transactions
   between paid performers. Moreover, we found not only that Bigo’s top-earning performer was a sham
   who acted as his own number 2 top contributor, but that Bigo changes user details and contribution data
   of key FU accounts in what appears to be an ongoing scheme to obfuscate the nature of its fraud.


   Case Study: Top Bigo User RCT_KHAN is One of Bigo’s Best Con-Jobs

   Bigo performer RCT_KHAN has a laughable channel presence, consisting mostly of an up-close view of
   his forehead. Yet, he has topped Bigo’s earnings rankings. In trying to determine the origin of his
   channel revenues, we found indicia of fraud similar to those at YY Live, but with a twist. RCT_KHAN’s
   number two top contributor is blatantly himself, which is a familiar YY tactic used by performers like Big
   Li. Many of the remaining top contributors are members of RCT_KHAN’s “family”, or performers
   otherwise associated with RCT_KHAN, which also rings true to the type of fraud practiced on YY Live.

   RCT_KHAN has consistently defeated his rival performers in online challenges and global competitions,
   propelling him to the top of the Bigo charts as the best-earning host. The kicker? He doesn’t act funny,
   entertaining, or really do anything at all.




   66
        To my friend Wilfred Frost: Please note that my seven year old came up with that association.
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                      In February 2020, RCT_KHAN won Bigo’s Most Popular Host Award.67


   RCT_KHAN’s camera variously shows him doing paperwork at his desk, sits trained on his wall, or gets
   pointed upward at his ceiling. Occasionally, he will also chat with another Bigo performer on stream.
   We observed him on over 50 occasions over the span of nine months, and as far as we can tell, these are
   the extent of his “entertainment” activities.

   His channel is as predictable as it is dull.




   67
        https://www.facebook.com/bigoliveapp/photos/a.164532517263807/1165953210455061/?type=3
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                    Screenshots of RCT_Khan (left) doing paperwork at his desk, Spring 2020

   But looking at his growing lifetime currency totals and chart-topping accomplishments, you would
   believe Bigo users are fanatic supporters, rewarding RCT_KHAN handsomely for this content.
   We first noticed RCT_KHAN in November 2019, at which time he had a total of 130 million “beans”, the
   currency Bigo performers earn. But by the end of March, he had racked up another 51.5 million beans,
   implying earnings of approximately $50,000 per month. This is generous compensation even for a skilled
   performer, to say nothing of someone who streams the digital equivalent of watching paint dry.
   The absurdity does not end there. In March 2020, he again topped the global leaderboard, jumping into
   1st place with a surge of approximately 1.7 million beans in the final 30 minutes of the challenge.68 We
   suppose he captivated his audience with exceptional wall and ceiling tile videography.

   As the series of images below display, Khan was not only a non-performer during the final 30 minutes of
   this competition, but after racing into first place in the final minutes of this global challenge, he was
   expressionless, barely even glancing up to look into the camera.




   68
     While others cheered and called out for support, RCT Khan did nothing. 2nd place “Nitro” also surged in the final
   minutes and excitedly celebrated his win - such “exciting victory moments” are hallmarks of the Bigo performers
   video feeds. However, RCT Khan, marked the occasion as usual, at his desk, camera pointed at the wall, doing
   nothing.
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          RCT_KHAN (left) During and After the Final Minutes of the March 2020 Global Competition


   We learned from interviews with former Bigo employees that RCT-KHAN is both the RCT “family”69
   head and also a talent agency manager. Ironically, his virtual agency is virtually devoid of talent. We
   believe his main occupation is as a Bigo promoter and in running a circular economy that generates the
   illusions of big transaction volumes for Bigo.
   When we examined RCT_KHAN, his top contributors and their top contributors’ contributors, three
   telling patterns emerged.

   First, his top contributors are “top-up resellers.” We suspect RCT_KHAN’s most valuable services are
   ones he provides off stream as a “diamond reseller”, someone who allows Bigo users to purchase the
   platform’s “diamond” tokens at a discount. These are not real PUs sending gifts.

   Second, his other top contributors are members of the same “family.” This type of circular gifting within
   their own families and closely allied families is not a pattern unique to RCT_Khan and his little clique,
   but is a pervasive characteristic observable throughout the Bigo ecosystem.
   The table below shows the interlocking nature of contributions by the RCT “family” to the same few
   accounts.




   69
     In Bigo, families are like alliances, and somewhat akin to YY’s channel owners. Paid performers often join
   families, adding an official designation to their profile, and team up in competitions in regional or global challenges
   or PKs to try to win more beans and other awards. Theoretically family members help each other out by sending
   each other gifts, especially when in competitions or when falling short of their monthly quotas. However, Talent
   agencies also exist and are typically organized behind the scenes, but some advertise on their profile pages. Talent
   agencies usually earn a percent of what their members receive. Talent agency heads may be family heads or family
   members, regardless they also compete to win beans and are typically obliged to help out the paid performers in
   their agency.
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   Third, RCT_KHAN’s number two top contributor, RCT_HYUN BIN, responsible for gifting 24.8 million
   beans (over $400,000) appears to be… himself.
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   And just before we published this report, a funny thing happened to RCT_HYUN BIN. We direct readers
   to remember his profile page below for a moment:




   One day, RCT_Khan’s number two top contributor suddenly changed to Fahmi NAGA! RCT_HYUN
   BIN was erased and replaced. Bigo swapped the profiles of a massive FU.
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   Fahmi NAGA is not a new contributor who leapt up to the number two position and got ahead of
   RCT_HYUN BIN. The total beans contributed and rankings for the top recipients didn’t change. Instead,
   the user’s name, profile photos, user family, Bigo ID, and most profile details have been quick-changed,
   while the bean total got reset to zero.
   We tracked RCT_KHAN RCT for nearly a year, and in that time, Hyun Bin’s profile was up for months.
   We figure someone at Bigo finally realized how dumb it was to show their top bean-earning performer
   was also publicly presenting as his own number two contributor.
   We note as well that this is not the first change to RCT_HYUN BIN’s profile. Before becoming
   RCT_HYUN BIN, this user was on the platform under the name VARUN DHAWAN. The involvement
   of the platform is clear, because per Bigo’s own written policies, only one change to the name associated
   with a Bigo ID are permitted. For this reason, we conclude that Bigo authorized, if not outright directed,
   this overnight body transformation.




                                   It’s Right There in Black and White, Folks


   We believe these fake user profile swaps are essentially Bigo’s “FU” witness protection program.


   Even in our Conservative Case, 59.1% of Bigo’s Revenue Seems Fraudulent

   Our base case is that ~80% of Bigo’s revenue is fake, as we view its ecosystem as being on par with YY
   Live’s. But even when we use a company-favorable model building up from Apple store and Google play
   revenue data, we still estimate that 59.1% of Bigo’s revenue is fake.

   The table below calculates Bigo’s worldwide, non-PRC revenues, which include Bigo Live, Likee, IMO,
   and Hello Yo. We find that in our conservative case, 59.1% of Bigo Revenue seems fake by comparing
   app store revenue data with numerous company-favorable adjustments. The data is aggregated from
   various third-party global app data monitoring services that draw from the Apple and Google Play stores,
   and we adjust their reported figures upward based on company disclosures and interviews with former
   employees.
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   To derive this 59.1% ratio, this estimate also takes into account uncounted revenue sources from PC
   users, digital store fees, and non-monitored markets. We begin with estimated Bigo revenue per these
   data sources, which was $52.4 million in Q2 2020. We add revenue from other Bigo apps including
   Likee, which increases revenue by $6.4 million in that period. Then, we adjust the total of $58.8 million
   by 2.5% for revenues coming from geographies that are unmonitored by the data services; by 30% for
   Apple and Google Play store fees; by 28% for Bigo users who are PC users and thus not initially counted;
   and by another 30% for revenue not coming in through the Apple or Google stores. Thus, our total
   conservative estimate of real Q2 2020 Bigo revenues comes to $170.7 million. Against YY’s reported
   Bigo revenue of $417.0 million, this yields an estimate that 59.1% of Bigo revenue is fake. We detail our
   calculations below.




   We also found that the disparity between the company’s claimed revenues and our estimates is growing.
   In 2018, we found only an estimated 29.0% difference between Bigo’s revenues per its Singapore local
   filings and what our model showed.70 Data comparisons against YY’s public disclosures in subsequent
   quarters reveal that the discrepancy grew drastically, rising from $52.5 million, or 35.1%, in Q1 2019 to
   $246.3 million, or 59.1%, in Q2 2020.


   70
      There is a US$80.1 million dollar difference in the 2018 Bigo revenues reported by YY in its 2019 June 6-K vs.
   those in its 2018 Singapore filings. Since those reported to the SEC should be Bigo’s total consolidated revenues
   from all of its principal subsidiaries and VIEs and specifically include details on PRC VIE based revenues, we
   expect that these would the larger – if there were any difference at all.
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   Bigo is similar to YY Live in three primary ways.

        •   First, we found widespread use of bots at Bigo. As we showed above, YY bot networks showing
            IPs in South America and Southeast Asia mean YY is capable of generating fake PUs virtually
            anywhere in the world. As a result, we were not surprised when former Bigo managers in
            Southeast Asia, South Asia, and the Middle East stated that the vast majority of Bigo users at any
            given time were bots.
        •   Second, as with YY Live, Bigo runs a fictitious, circular economy of inflated revenues, where
            performers are often paid contractors who are compelled to re-gift much of the revenue they earn
            as part of their work.
        •   Third, the entire business has been geared at benefiting a small coterie of insiders, with David Li
            being the prime beneficiary.



   The Bigo Acquisition Was a Multiyear, Multilevel Scam
   Benefiting YY Insiders
   We believe YY’s 2010 buyout of Bigo for $1.45 billion in cash and stock was a scheme to bilk investors
   by buying another fraudulent company from the chairman.71 We obtained local Singapore filings for
   Bigo, which showed that YY, and not David Li, founded Bigo in the first place: Bigo was only transferred
   later to Chairman Li later. We also found that Bigo retroactively added mainland China revenues that we
   believe to be largely fraudulent to make Bigo seem like a larger acquisition for YY—and justify a larger
   payday for Chairman Li.

   We believe that Bigo was set up to scam investors from inception. Since 2015, management has been
   misleading investors, telling the public that David Li set up and controls Bigo.72 However, this is a lie:
   Singapore filings show that Bigo Technology Pte. Ltd. was incorporated on September 11, 2014 with
   only one shareholder, YY’s BVI entity, Duowan Entertainment Corp.73




   71
      YY, 6-K, March 4, 2019, “YY Inc. …today announced its recent acquisition of the remaining approximately
   68.3% of all the issued and outstanding shares of Bigo Inc (“Bigo”) from the other shareholders of Bigo, including
   Mr. David Xueling Li, Chairman and acting CEO of YY, for an aggregate purchase price of US$1,452,778,383,
   comprising of US$343,061,583 in cash, 38,326,579 Class B common shares of YY issued to Mr. Li and
   313,888,496 Class A common shares of YY issued to Mr. Li and other selling shareholders of Bigo.”
   72
      YY 2014 20-F, p.114 et alia: “In October 2014, we entered into an agreement to inject our free voice- over IP
   service, Weihui, into Bigo Technology Pte. Limited, or Bigo, a company set up and controlled by our chief
   executive officer, Mr. David Xueling Li. Following two independent third- party valuation assessments and a capital
   injection from other investors of Bigo, including Mr. Li, we retained a 27.8% ownership stake in Bigo.”
   73
      Lawyers can debate whether it is a lie of omission or a lie of commission, regardless the crafting of this narrative
   displays an intent to deceive. We believe this reveals a dangerous tendency for Chairman and CEO David Li to
   view company assets as personal assets.
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   In contrast, David Li did not personally invest in Bigo until December 14, 2014.74




   74
        See Bigo Singapore filings “141219 Share Subscription Agreement, Section 3.04”
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   YY’s Bigo acquisition was the culmination of a scam that unfolded over several financing rounds while
   ultimately being funded with a substantial portion of YY’s 2017 secondary offering.75 Much of the
   acquisition consideration was paid directly to the Chairman in the form of both cash and stock.
   38,326,579 Class B common shares of YY worth approximately $156.1 million were issued to David Li.
   Additionally, he likely received a portion of the $343.1 million cash consideration as well as some of the
   313.9 million class A common shares in YY. 76 YY also used this giant payout to insiders to book fair
   massive value gains in 2018 and 2019, generating sizable paper profits.

   Even in Bigo’s earlier years, local audits gave indications that all was not what it appeared to be. Bigo
   changed its Singapore auditor three times over the first four years. Shortly after re-acquiring 100% of
   Bigo, YY management claimed that although Bigo was lossmaking overall, Bigo Live (the core live
   broadcasting operation) was strong enough to support the initial development of its other businesses such
   as Likee,77,78 but Bigo’s revolving Singapore auditors disagreed. In each of Bigo’s three annual reports
   from 2016 to 2018, the audit report included a going concern warning.79 Furthermore, Bigo made a major
   restatement of its 2017 financials in August of 2019, months after the acquisition was complete.80,81


   75
      https://ir.yy.com/news-releases/news-release-details/yy-announces-completion-acquisition-bigo “: YY bought out
   the remainder of the shares in Bigo it did not already own in Q1 2019 for US$343.1 million in cash and issued
   313.9m Class A common shares and 38.3m Class B common shares, in total valued at US$1.45 billion. These funds
   came from its 2017 secondary offering.
   76
      YY 2019 20-F, p.60 “In March 2019, we completed the acquisition of the remaining 68.3% of equity interest in
   Bigo from the other shareholders of Bigo, including Mr. David Xueling Li, our chairman of the board of directors
   and chief executive officer. We paid US$343.1 million in cash and resulted in issuance of 38,326,579 Class B
   common shares to Mr. David Xueling Li and 305,127,046 outstanding Class A common shares to Mr. David
   Xueling Li and other selling shareholders of Bigo.”
   77
      YY June 18, 2019, 6-k, pp. 104, 127 (Bigo consolidated financial statements, pp. 31, 54)
   78
      YY 2Q19 earnings call, CFO Bin Jing: “I want to highlight Bigo Live. So Bigo Live actually has been profitable
   in the past 1 to 2 years already. And actually, their profitability is… used to be good enough to support Likee’s
   development. But very recently, we have more aggressive campaign in terms of the Likee’s investment since we
   actually see the better ROI from the user acquisition part for the short-form video.”
   79
      As of the time of this report, the 2019 Singapore financials for Bigo had not yet been made available.
   80
      In August 2019, the 2017 financials were restated and updated in the 2018 financial report, filed in August of
   2019.
   81
      The records report 3 auditor changes (4/32015; 5/3/2016; 2/27/2018) and a revolving door of directors and
   secretaries.
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   Because of its precarious financial position, Bigo continued to pretty itself up in preparation for an
   acquisition. In its 2018 Singapore filings, Bigo restated its financials, adding a China VIE, Guangzhou
   Baiguoyuan, which contributed an extra $110 million in revenues.82 However, as we detail below, we
   believe that almost all of Bigo’s mainland China revenues are fabricated. Moreover, when we compare
   the Singapore restatement details to the Bigo China VIE’s financials as reported in their Chinese credit
   reports, we see numerous illogical discrepancies.

   Bigo’s beautification measures helped generate enormous fair value remeasurement gains for YY,
   boosting the value of YY stock in turn. YY’s 2018 Series D investment in Bigo led to a remeasurement
   gain of RMB 988.7 million, which equated to 46.7% of 2018 reported net income.83,84 The 2019
   acquisition of Bigo further boosted YY’s Q1 2019 financials, with a RMB 2.67 billion remeasurement
   gain that represented a whopping 72.2% of 2019 net income.85

   As a crowning revenue inflation achievement for David Li’s checkbook, Bigo continually hid the fact that
   one-third of its business at the time of acquisition came not from overseas, but from mainland China. We
   believe this mainland revenue to be almost entirely fake, as detailed below. Further, we believe these
   PRC revenues fattened up Bigo with fictitious sales so that the business could fetch a higher acquisition
   price for the benefit of Chairman Li’s (improperly reported) equity interest.

   Press releases announcing the Bigo Series D round in June 2018 and the completion of the Bigo
   acquisition in March 2019 focused on Bigo Live and Likee, painting Bigo as a global play on
   livestreaming valued at $1.45 billion. 86,87,88 These announcements made a point of stating that Bigo
   Live’s livestreaming platform excluded China, and made no mention that a substantial portion of Bigo
   revenues came from Chinese audio livestreaming apps.

   Yet, according to a June 2019 6-K filed with the SEC, US$165.5 million in sales came from the PRC,
   constituting approximately one-third of Bigo’s total 2018 revenue. A near-equal amount, US$159.4
   million, came from audio livestreaming, thereby implying that the source of additional PRC revenue was
   the mainland China audio livestreaming app Hello, with some possible contribution from smaller
   apps.89,90 As we detail infra, we suspect that both Bigo’s 2017 revenue restatement and its 2018 earnings
   from Baiguoyuan and the associated audio livestreaming businesses are very likely fake or greatly
   overstated. All of these findings support our base case estimate that ~80% of Bigo’s revenues are


   82
      Bigo Technology Pte. Ltd. 2018 Audited Financial Statements dated Aug. 28, 2019
   83
      YY 2018 20-F, p. 111, US$272 million Series D
   84
      YY 6K, June 18, 2019, Exhibit 99.4 Unaudited Pro Forma Condensed Financial Information, p. 2
   85
      YY 2019 20-F, pp. F-8, F-46, see fair value changes and remeasurement gains
   86
      https://ir.yy.com/news-releases/news-release-details/yy-announces-strategic-investment-bigo-inc
   87
      https://ir.yy.com/news-releases/news-release-details/yy-announces-completion-acquisition-bigo “Bigo is a fast-
   growing global tech company. Headquartered in Singapore, Bigo owns BIGO LIVE, a leading global live streaming
   platform excluding China, LIKE, a leading short form video social platform worldwide, and other social apps. Bigo
   has created a video-based online community for global young generation users. It has established footprints with a
   strong presence in South-Eastern Asia, Southern Asia, the Middle East and America, paving the way for further
   global expansion.”
   88
      According to its press release, China Renaissance also served as an advisor to the independent audit committee for
   the Bigo acquisition and many other YY transactions since 2014, including the Weihui spin-off, and 2017 secondary
   stock issuance, http://www.huaxing.com/m/news/5c7dd73496328e0225543a8c?lang=en
   89
      YY June 18, 2019, 6-k, P.80 (Bigo consolidated financial statements, p.8), “In March 2016, Baiguoyuan Network
   launched an audio live streaming mobile app, HELLO, which focused on its business in China.”
   90
      YY June 18, 2019, 6-k, P.93 (Bigo consolidated financial statements, note 2iii)
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   fraudulent.


   Former Bigo Country Executives Stated the Majority of Users were Fake

   Three country executives at Bigo matter-of-factly confirmed to us that the majority of Bigo users are fake,
   with the allocation of bots being directed by AI run from Bigo’s headquarters in Singapore or YY’s
   headquarters in Guangzhou.
   Our investigators spoke to a former Bigo India executive to ask about the way Bigo did business. The
   executive stated that roughly 60% of the people in Bigo performers’ rooms were bots, with the allocation
   of bots being determined by the Chinese team in Singapore and Guangzhou.
   He viewed using bots as a necessity, citing the weakness of the underlying Bigo platform. “So basically,
   when you join, I cannot leave you like this… a blank. We have to give you some fans,” he said. “We
   have to give you some followers… If you join the platform and go live, nobody will give you money.
   Correct. Do whatever you can, but no one will.”91
   A former Bigo Middle East executive described to us a similar proportion of fake users on Bigo. He
   stated that, “For Bigo, only about 30-40% of the viewers are real and about 60-70% are bots.” However,
   Bigo can dial up or down the proportion of bots on the platform, according to the former executive: “This
   figure can be much higher. For example, in the Live House [music channel], the first 5,000 viewers are
   normally all bots.”92
   Finally, a former Bigo Southeast Asia executive corroborated these accounts, stating to us that 70% was a
   typical proportion of bots found in Bigo channels.


   Bigo’s Spin on the Circular Economy Is Recycling Beans Through Broadcasters

   Bigo uses talent agencies and performer “families” to manage Bigo bean distributions and allocations in
   their network, creating a similar dynamic to YY Live without the need for implicit control of channel
   owners.

   Bigo performers are users by design. To be paid, performers need to meet certain target “bean” quotas
   and follow a schedule of regular broadcasts to game the app’s ranking system. Paid performers are
   required to keep their daily streams to between 30 minutes and two hours. This ensures they log on as
   many days as possible each month, while aligning their payment incentives with the metrics of third-party
   app analysis companies, which rank apps on engagement metrics. Bigo creates the impression of a large
   number of users who are highly engaged, when in fact the engaged users are mostly just paid performers
   working according to a set of scheduling parameters.



   91
     Interview with former Bigo manager in South Asia
   92
     Interview with former Bigo manager in the Middle East, recently Livehouse users’ numbers are typically in the
   low 2000’s, so Bigo may have adjusted this base line bot audience down to 2,000+ users. The Livehouse audience
   numbers frequently fluctuate as purported users join and leave, but often jump up and down in double, not single
   digits.
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   According to the former Bigo manager with whom we spoke, the bean earning quota system pressures
   performers to keep the beans inside the Bigo economy. Some performers receive payment, but others, like
   Bigo performers in the US, Morocco, and some other countries, are paid monthly salaries in beans, which
   helps Bigo to pad out the amount of beans circulating in the ecosystem.93,94
   Bigo also introduced a recycling option for performers to use beans without leaving the platform.
   Performers can purchase discounted beans to buy gifts for each other in tit-for-tat transactions that help
   each other hit revenue goals. In this way, when they are falling short of their quotas, performers will
   typically seek the help of their talent agencies or members in the family to support them and exchange
   discounted gifts. Performers often will hold back about half of their beans over the course of a month in
   case they need them at the end to trade gifts with other family members and meet their quotas. Such
   activities keep the virtual currency flowing and create the appearance of strong revenue generating
   activities inside the app Bigo.95
   Our review of top performers found that they often send out large amounts of beans, sometimes in
   amounts that appear to be equal to or even much greater than their total earnings. However, since Bigo
   has taken not only to changing the identities of large FUs, but also changing the statistics of contributors’
   accounts, making precise calculations is difficult. For example, below we show how RCT_KHAN’s
   recorded lifetime gift contributions have somehow dropped -99.8% in seven months:




   93
      Per recruitment ad for Bigo performers to join the channel owner https://rsquaredtalent.com/,
   “You will earn your salary based on the number of gifts you receive each month. This is broken down in a tier structure
   so that when you hit each of the individual goals, you reach a higher salary. There are minimums you must reach each
   month to remain active as a performer, but most of our performers have no problem reaching these goals if you listen
   to our tips and put in the required amount of hours. Our top hosts earn between $50 – $200 per hour plus the gifts they
   earn during their live broadcasts. Payment comes each month “around the 8th” in the form of in-app currency. This
   currency can be converted into real world cash by transferring it to Payoneer and then to your personal bank account
   or CashApp.”
   94
      Interview with former Bigo Middle East manager
   95
      https://factordaily.com/how-mechanics-bigo-live-works/
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                             RCT_KHAN’s Decreasing Total Lifetime Contributions.
                                   Left: April 2020 Total Diamonds Sent 131 M
                         Right: November 2020 Total Diamonds Sent Declined by 130.7 M




                            The Bigo In-App Displayed Definition of the “Send” Metric


   We believe the intent behind changing top users’ data is clear: to prevent others from discovering the
   scale and absurdity of the Bigo scam.


   Bigo PRC Revenues Appear to Be Mostly Fake, From A Derelict Audio Streaming App

   Bigo also has a mainland Chinese business that it does not discuss in its earnings calls and attempts to
   bury inside its annual filings. We believe it avoids mentioning the PRC business because it is essentially
   an empty box, as its apps show little to no real activity.
   YY reported Bigo’s 2018 Asia-PRC revenue was US$165.5 million, and its Audio Livestreaming
   segment revenue at US$159.4 million.96 Bigo’s core products, which are Bigo and Likee, are oriented to
   video, not audio, livestreaming, and both are also focused on markets outside China. In 2018, Bigo’s
   Singapore financials show it claimed US$538.2 million in revenue.97 The PRC revenue reported
   represents 30.7% of Bigo’s total revenues, a very substantial amount for a market that goes virtually
   unmentioned.

   The table below shows the geographic breakdown of Bigo revenue, per YY’s SEC filings:98




   96
      YY June 18, 2019, 6-k, p.93 (Bigo consolidated financial statements, p.20)
   97
      Bigo 2018 Singapore Consolidated Financials, p.9
   98
      YY June 18, 2019, 6-k, p.93 (Bigo consolidated financial statements, p.20). Note: there is also a large $80.1
   million difference between the SEC filings for Bigo’s consolidated revenues and its local Singapore filings.
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                                                                                                    99
              Disaggregation of Bigo’s 2018 Revenues Breaks PRC Apps Including Hello



   Through our mainland investigators and conversations with former Bigo employees, we confirmed that
   mainland Chinese cannot download Bigo through their normal app stores. Bigo’s main presence in China
   comes from Chinese performers who are hired to interact with overseas Chinese and other foreigners, and
   thus, we believe, PRC users of the Bigo Live app are performers and do not generate real or material
   revenue.100
   A disclosure from YY leads us to believe that the PRC revenues instead come from an app called Hello.
   YY’s June 2019 6-K states that, “In March 2016, Baiguoyuan Network launched an audio live streaming
   mobile app, HELLO, which focused on its business in China.”101 Our inspection of Baiguoyuan, Bigo’s
   China VIE, shows it has multiple apps and websites operating in mainland China, many of which seem to
   be defunct. The main app is Hello            a voice streaming social networking app with a small market
   presence. Others that appear operational include Yiqi and YuanYuan, and have even tinier footprints.
   Thus, we believe the audio livestreaming and China-PRC revenues are essentially the same and should be
   predominantly, if not substantially all, from Hello.
   We found that Bigo’s implied PRC revenues have been generating growth for Bigo, per filings. In the
   2019, YY began disclosing the split of its PRC and non-PRC livestreaming revenues in its quarterly
   earnings releases. YY’s Non-PRC revenues have primarily been derived from Bigo, with a small amount
   from Huya and Hago.102,103 Assuming that Bigo and its consolidated subsidiaries represent 100% of YY’s

   99
      YY June 18, 2019, 6-k, p.93 (Bigo consolidated financial statements, p.20)
   100
       Interviews to YY talent agency manager and former Bigo manager and current talent agency manager in
   Singapore
   101
       YY June 18, 2019, 6-k, p.80 (Bigo consolidated financial statements, p.8)
   102
       YY 4Q 2019 earnings call. “Hago is booked under the YY’s live segment.” Additionally, Likee and IMO are
   Bigo apps, so any revenues generated by these will be in the Bigo revenue.
   103
       For Oct. 2020, Sensor Tower estimates that Hago’s worldwide revenue for Android and Apple was under
   US$1M
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   non-PRC revenue, we can calculate Bigo’s minimum onshore PRC revenues by subtracting all of YY’s
   non-PRC revenues from Bigo’s total revenues.

   From recent YY disclosures, which now exclude Huya, we can see that Bigo’s implied onshore PRC
   revenues were 13.4% of Bigo’s Q3 2020 revenues, but were still growing +27.4% YoY to RMB 456.2
   million:




   Bigo’s onshore revenue appears to be limited to the apps and investments held by the VIE Baiguoyuan,
   which should be substantially all derived from Hello and its sister apps. However, when our investigators
   spoke to YY’s channel owners and virtual currency merchants, they encountered little knowledge of or
   familiarity with the PRC app Hello       . To date, we have found few signs that Hello has significant
   substance in terms of brand name, online presence, downloads, MAUs or revenues in China. As we lay
   out below, we doubt that Hello and its sister apps generate much, if indeed any, real revenue.


   The Hello App Appears Derelict, With Longstanding YY Links Despite Supposed Bigo Origin

   Our investigators performed primary diligence on Hello and found little current activity, cementing our
   belief that the app generates little revenue. Furthermore, Hello appears to have been set up by YY, not
   Bigo, as we found by analyzing disclosures by the app.

   We monitored several livestreaming rooms and found them to be a joke. Not only was the content
   terrible in our view, but they were mostly devoid of participants and performers. When browsing through
   the Hello app, we saw very few active users, and even in the rooms which show full capacity there are
   still very few interactions by the host and users, with little or no signs of real or even fake gifts being sent.
   Most users seem appear to be “sit-in bots”, engaging in no activity, and furthermore, appear to neither
   join nor exit these deadstreaming rooms. Two examples below show top-ranking broadcasting rooms on
   Hello        at full capacity, but with no message or voice interactions at all.
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   We believe that Hello and its sister apps continue to exist out of convenience for management, who likely
   find onshore revenue fabrication is easier and cheaper than offshore. We further believe that these apps
   operated in order to help inflate Bigo’s topline, boosting both its historical and recent contributions to
   YY, yielding both ongoing revenue inflation and past fair value gains. Furthermore, this revenue inflation
   was a way for David Li to artificially inflate Bigo’s valuation. By including the Baiguoyuan VIE’s likely
   fake China-based revenues in Bigo revenues, David Li received a larger payout from YY.

   As evidence that the VIE’s operating business is mostly composed of Hello, public SAIC records for
   Baiguoyuan Networks, Bigo’s China VIE, show www.520hello.com as the website of record.
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   As of August 2018, predating YY’s acquisition of Bigo, Hello used a YY customer service email:
   hello@yy.com.104 This is a red flag even for a small operation, but much more for Bigo, which in 2018
   was supposedly on the path to generating over RMB 1 billion that year. It suggests that some operations
   and management had been comingled and were under the common control of YY.

   We found additional evidence of this de facto control in a January 2017 blog post about how to set up an
   account and get paid commissions from streaming on Hello         . According to Singapore filings,
   Baiguoyuan and Hello       should have been under the control of Bigo since 2016 and completely
   separate from YY. However, Hello          users were encouraged to tie their YY accounts to their Hello
      account and to use YY’s payment system.105




   104
         http://web.archive.org/web/20180827213744/https://520hello.com/
   105
         https://www.ruan8.com/tutorial_3630.html
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   Appendix A: Definitions Related to our Analysis
      •   Gift income: the value of gifts given by the PUs or being received by the performers as collected
          by XHL. For YY Live, the value would be approximately the cash received by YY.
      •   Channel owners: the party operating the channels or a channel on YY’s platform to provide the
          live streaming service to the viewers. The channel is referred to as room in the lexicon of YY.
          Among YY performers, the channel owner is also known as OW.
      •   Channel manager: the individuals or virtual individuals managing the operation of the channel
          owners, could be management and/or shareholders.
      •   PUs: Paying Users. The viewers of the live streaming shows who give the performers the tips or
          gifts which the viewers bought from YY.
      •   FUs: Fake paying Users. YY’s FUs display indications of fraud as well as control by the
          platform in their gift sending behavioral patterns and transaction details.
      •   Top PUs: the ranking was based on the gift income reported by XHL given to the performers
          from Oct 2019 to Jan 2020, unless otherwise mentioned.
      •   Top performers: the ranking was based on the gift income reported by XHL received by the
          performers from Oct 2019 to Jan 2020, unless otherwise mentioned.
      •   IP block / subnet: a grouping for IP addresses from the same network together. Normally a set of
          IP blocks has 256 IPs.
      •   YY ID: YY has 4 IDs for each performer: room ID, Channel ID, YY account ID and UID. The
          UID is used by XHL and YY’s system and could not changed by the performer. The Room ID,
          Channel ID and YY account ID could be changed as a result of leaving the original channel
          owner to join a new channel owner, etc. The UID cannot be changed by the performer. We use
          the UID for the identification of performers to be consistent with XHL data. The YY account ID
          is a number assigned to the users of the YY platform. One YY account ID could be used by an
          individual as a PU and/or a performer.
      •   UID: See above.
      •   FromID and ToID: Both are used in coding. fromID means ID is used to give gifts as a PU, and
          toID means ID is used to receive gifts as a performer. If someone uses his YY ID to perform or
          give gifts, the ID number is same for both transactions, the title of the ID would change based on
          the direction of the transaction and be either fromID or ToID.
      •   FromName and toName: the name associated with fromID and toID. One YY ID could have
          multiple fromnames and tonames. A user can change their username (fromName or toName) as
          many times as they like.
      •   Lockdown period: Jan 23, 2020 to Feb 24, 2020 Beijing Time. Jan 23 is the formal lockdown
          period for Wuhan China. Other cities had been gradually lockdown following Wuhan. During the
          lockdown, Chinese had to stay home with very limited chance to go out for shopping except for
          people working for limited number of essential businesses.
      •   Four-month monitoring period: From Oct 2019 to Jan 2020.
      •   Expanded monitoring period: Nov 27, 2019 to Feb 5, 2020.
      •   YY controlled PUs: the PUs connected with individually identified YY controlled parties by
          sharing displaying YY local host server or internal network server addresses, sharing IMEIs with
          a PU and a performer at a controlled channel, or members of an IP network address blocks
          displaying a gift sending patterns of a YY controlled bot network.
      •   YY Server FUs: 82 paying users used IP 127.0.0.1
      •   YY Internal Network FUs: 1301 paying users used IPs (100.64.0.0-100.127.255.255) which are
          only used for internal private networks.
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          •   YY IP addresses: the 127.0.0.1 local host server addresses used by the YY Server FUs and the
              100.64.0.0-100.127.255.255 internal network server addresses used by the YY Internal Network
              FUs.



   Appendix B: Notes on Data & Data Sources
   Data collection
   By analyzing the traffic generated by YY servers, we monitored YY by monitoring the performer’s live
   broadcast performance rooms starting Oct 20, 2019. Our data analysis was based on gift giving
   transactions collected by monitoring the performing performers 24/7 from Nov 27, 2019 to Feb 4, 2020.
   We collected 115.585 million gift giving transactions from 1.19 million PUs to 20,715 performers.

   Expanded period: Nov 27, 2019 to Feb 5, 2020 Beijing Time




   Lockdown period: Jan 23, 2020 to Feb 5, 2020 Beijing Time




   The revenue from 20,715 performers we monitored covered over 88.3% of the YY Live segment revenue
   as reported by XHL during the monitoring period.106
   For each gift giving transaction, we obtained up to 88 pieces of information, e.g. time of the transaction,
   IMEI, IP, name of the PU, YY ID of the PU, gift name, unit price for gift, gift ID, the quantity of gifts,
   the name of the performer who received the gift, YY ID of the performer, etc.

   Table: the key information used for data analysis




   106
         XHL’s data shows 61,574 performers earned RMB2.69B gift income from October 2019 to January 2020.
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   Collected data          Gift transaction 1                         Gift transaction 2            Gift transaction 3            Note
   timestamp               Jan 18, 2020 @ 01:54:25.363                Nov 29, 2019 @ 17:01:16.212   Nov 29, 2019 @ 16:25:45.883
   City                    Shanghai                                   Hefei                         Xuzhou
   Country                 China                                      China                         China
   ISP                     China Telecom (Group)                      No.31,Jin-rong Street         No.31,Jin-rong Street
   detailInfo_1            101.80.170.182                             114.100.64.126                180.123.41.224                Paying users' IP address
   detailInfo_giftSource   iphone                                     pc                            pc                            Paying users' device info
   detailInfo_imei         a37a2bef55324711daceab687eba9372ab528957                                                               Paying users' device info
   detailInfo_mac          a37a2bef55324711daceab687eba9372ab528957                                                               Paying users' device info
   fromId                  1344722800                                 1655335872                    1735657933                    Paying users' YY ID
   fromName                ⚔️ 613                                                        7136                                     Paying users' YY name
   location                31.0449,121.4012                           31.8642,117.2865              34.1805,117.1571              Paying users' GPS info
   room                    1848                                       145485                        496164                        Performers' channel
   toId                    1845185734                                 1845185734                    1845185734                    Performers' YY ID
   toName                                                                                                                         Performerss' YY name
   gift_name                         (10)                                        (10)                        (150000)             Gifts' name
   type                    1443                                       1443                          1521                          Gifts' ID
   num                     1                                          1314                          1                             Quantity of gifts
   detailInfo_unitprice    10                                         10                            150000                        Unit price of gifts (in Rmb cent)
   total                   10                                         13140                         150000                        Transaction value (In Rmb cent)




   In addition to above data, we also purchased XHL data and collected XHL data for our data analysis.
   XHL is a data monitor company to provide the “independent and reliable”107 market data reports about
   the gift giving transactions to support the amount of revenue would have been generated at YY’s
   platform.

         •       We have a large data set with over 115 million unique, deduplicated transactions (115gb data)
                 from Nov 27, 2019 to Feb 4, 2020.
         •       Although a large data set, this represents only a fraction of XHL’s recorded transactions for this
                 same period. XHL data does not include additional unique identifiers such as cellular IMEIs in
                 their data.
         •       We primarily use this data as a large sample to check connections between performers and PUs,
                 extrapolate patterns, and check details where the data is sufficiently granular (i.e. bot hunting),
                 irregularity hunting during the Jan lock-down, and Bigo top PUs changes in earnings from Nov-
                 Feb./circular economy.
         •       We do not use this to make a revenue estimate.

   Xiaohulu (XHL)108

         •       XHL is a mobile app analytics company specializing in entertainment and social networks.
         •       In court documents from lawsuits involving YY & Huya, we found that YY itself presented XHL
                 as a reliable source for these companies’ revenue data. 109 Therefore, we make extensive use of
                 its data to make arguments about the companies’ operations and revenues.
         •       XHL’s owner, Jin Cao (         ), was a co-founder of YY, remains a minority shareholder of two of
                 its operating VIE’s, holding 2.11% of Guangzhou Huaduo Network Technology (
                                 ) and 0.77% of Beijing Tuda Science and Technology (
                    ). He also has been the legal representative at Guangzhou Duowan
                     since Dec 2008.
         •       XHL claims to use web crawling technology and the description provided is much like that we
                 used. However, when ran a comparison of data from XHL with that on a performers' back ends,

   107
                                                                                    -        , ” (“the Xiaohulu website
   has sufficient industry experience and technical resources to become an authoritative live data platform.” ).
   108
               www.xiaohulu.com ,
   109
                                                                                    -        , ” (“the Xiaohulu website
   has sufficient industry experience and technical resources to become an authoritative live data platform.” ).
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            we saw perfectly matched. This is not possible unless there is a direct access to YY’s own data
            sources. Therefore, we think XHL’s discussion for its data collection by using crawlers is bogus,
            and that instead, it is directly linked to YY’s backend.
      •     When reviewing XHL’s data at a monthly or quarterly basis, a significant delta in both revenue
            and PU numbers between it and YY is immediately apparent. For example, in Q4 2019, YY
            reported RMB 3.162 billion in livestreaming revenue and 4.50 million PUs, but XHL reported
            only RMB 2.131 billion (-32.6%) in livestreaming revenue and just 1.32 million (-70.7%) PUs.
            We also observed some gap between the PUs we observed during our gift contribution
            monitoring and XHL’s records.
      •     When we asked XHL’s staff about this, they told us that they could not give us an explanation,
            but assured us that their results were consistent with others in their industry within a margin of
            about +/- 5%.
      •     We dismiss the possibility that the difference is created by the mis-recording of the lucky draw
            stars, moons YY sells and the luck draw gifts performers receive. XHL’s revenue approximates
            the accounting revenue YY reports in the period because the lucky star and lucky moon is
            recorded at just 0.02 rmb/ea instead 0.1 rmb (its sale price) but it also includes the lucky draw gift
            revenue given to the performer at its face value. However, the lucky gifts are not accounting
            revenue for YY. YY’s revenue recognition policy will not recognize them. Due to this
            adjustment, we can see that this is not the cause of the discrepancy.
      •     This contradiction might be explained by a desire for XHL to appear to be a real, unrelated 3rd
            party. A real 3rd party app analytics company could not have perfect data; therefore, we believe
            that they intentionally created a discrepancy which is roughly equivalent in scale with its peers.
      •     Our conclusion that approximately 90% of the YY Live revenues are fraudulent focuses on the
            ~70% of YY livestreaming revenue reported by XHL and uses the paid gifts in XHL’s database
            to determine how much of it is fake.
      •     Again, we use XHL’s data despite these anomalies because we believe this is the data set which
            the company want diligent investors to review and evaluate.

   BigOne

      •     The BigOne is another Chinese data analytics company which collects top line revenue data from
            YY and Huya. This too has a large delta for YY, but not Huya. The reasons for the difference
            attributed for the difference with YY’s live steaming revenue by the BigOne were due to YY’s
            “online dating” channels. Discrepancies with Huya were accounted for as being due to “non-
            revenue generating gifts”.

                o   4Q19 BigOne YY: 2.297 bln,        -22.1% < than    YY: 2.950 bln
                o   1Q19 BigOne YY: 1.862 bln,        -27.4% > than    YY: 2.567 bln
                o   2Q19 BigOne YY: 2.033 bln,        -29.0% < than    YY: 2.863 bln
                o   3Q19 BigOne YY: 2.043 bln,        -29.5% < than    YY: 2.899 bln

                o   4Q19 BigOne Huya: 1.531 bln, 6.2% > than Huya: 1.442 bln
                o   1Q19 BigOne Huya: 1.539 bln, -0.9% < than Huya: 1.553 bln
                o   2Q19 BigOne Huya: 1.918 bln, -0.2% < than Huya: 1.922 bln
                o   3Q19 BigOne Huya: 2.045 bln, -5.2% < than Huya: 2.156 bln


   Example of a 3rd Party App Monitoring Service
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         •   Sensor Tower is an example of one of several popular analytics platforms for tech developers,
             analysts, and investors which we used in creating this estimate.110 These app analytics companies
             use Apple and Google play store data including rankings and engagement as well as internally
             developed algorithms to model revenues.
         •   BuzzFeed reported that Sensor Tower also owned at least 20 apps that track data passing through
             people’s phones.111,112 This information was secretly collected from millions of people who
             installed popular VPN and ad-blocking apps for Android and iOS. These apps, which didn’t
             disclose their connection to the company or reveal that they feed user data to Sensor Tower’s
             products, had more than 35 million downloads. Although highly improper and a violation of
             user’s data privacy, we do believe it likely enhanced the accuracy of its data and algorithm.
         •   Over the course of the last year, we reviewed data from other 3rd party analytics services and
             observed these were roughly consistent with one another. The starting revenues used in the
             model draw on data from multiple sources.



   Appendix C: Internal Network Usage
   Internal Network Usage: 100.64.0.0/10 & 127.0.0.1

   We only see local network transactions from the 100.64.0.0/10 (100.64.0.0-100.127.255.255) in 0.03% of
   our transactions. Additionally, we see localhost network transactions originating from 127.0.0.1 in
   0.002% of our transactions.

   The 127.0.0.1 address indicates that a bot, or YY controlled entity was sending transactions from the
   server itself. This is highly unusual as real users on YY Live are in their own homes, offices, or in public,
   not on the YY server.

   The 100.64.0.0/10 address is more interesting, and we have 38,823 (0.03%) transactions that use IP
   addresses within that range. YY hosts some of their infrastructure (potentially all of their infrastructure)
   on two cloud providers, as shown in their 20-F. These two cloud providers are Kingsoft Group and
   Sunhongs.

   This cloud hosting is important because we know that most cloud providers have specific instructions
   around the 100.64.0.0/10 IP address block and that it is used only for internal (within a cloud, or

   110
      https://sensortower.com/
   111
      https://www.buzzfeednews.com/article/craigsilverman/vpn-and-ad-blockin (may now be blocked): Since
   2015, Sensor Tower has owned at least 20 Android and iOS apps. Four of these — Free and Unlimited VPN, Luna
   VPN, Mobile Data, and Adblock Focus — were recently available in the Google Play store. Adblock Focus and
   Luna VPN were in Apple's App Store. Apple removed Adblock Focus and Google removed Mobile Data after being
   contacted by BuzzFeed News. Randy Nelson, Sensor Tower’s head of mobile insights, said the company did not
   disclose ownership of the apps for competitive reasons. “When you consider the relationship between these types of
   apps and an analytics company, it makes a lot of sense — especially considering our history as a startup,” he said,
   adding that the company originally started with the goal of building an ad blocker. (He was unable to provide media
   coverage or other evidence of this early focus.)
   112
      https://web.archive.org/web/20200310040005/https://www.buzzfeednews.com/article/craigsilverman/vpn-and-
   ad-blocking-apps-sensor-tower,
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   corporate network) communications. This means that you cannot communicate from or to a
   100.64.0.0/10 IP addresses from the public Internet directly.

   Netflix presented on moving their infrastructure to Amazon private clouds, and their use of the
   100.64.0.0/10 block network when doing so.113




   Amazon Documentation:
   https://docs.aws.amazon.com/vpc/latest/userguide/VPC_Subnets.html

   Microsoft Documentation:
   https://docs.microsoft.com/en-us/azure/virtual-network/virtual-networks-udr-overview

   Google Documentation: https://cloud.google.com/vpc/docs/vpc#manually_created_subnet_ip_ranges

   Kingsoft has specific instructions that the 100.64.0.0/10 address block should NOT be used in their cloud
   service114. So, we have reason to believe that Kingsoft cloud infrastructure is ruled out in this case.

   A reasonable explanation is that YY is using bots on their cloud infrastructure, and when the VPN or
   external anonymizing service has an outage or there is a problem, their bots continue to send transactions
   to YY.com through the internal network until the VPN comes back up. We see this pattern in the data as
   well where a user is on a public IP address, then an internal IP address, and then back to a public IP
   address.

   A diagram showing when the VPN is up:




   113
       https://www.slideshare.net/AmazonWebServices/aws-reinvent-2016-moving-mountains-netflixs-migration-into-
   vpc-net304, slide 25
   114
       Kingsoft Cloud Documentation - https://endocs.ksyun.com/documents/75
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   A diagram showing when the VPN is down:
